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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/885920335" data-vids="885920335" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;488 P.3d 1026&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; The PEOPLE of the State of Colorado,&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;IN the INTEREST OF Minor Child: &lt;span class="ldml-party"&gt;B.H.&lt;/span&gt;;&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;and&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;B.H.&lt;/span&gt;, &lt;span class="ldml-role"&gt;Minor Child&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioners&lt;/span&gt;&lt;/span&gt;,&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;D.H.&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Supreme Court &lt;span class="ldml-cite"&gt;Case No. 20SC498&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;June 1, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="209" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="209" data-sentence-id="209" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; of the &lt;span class="ldml-entity"&gt;State of Colorado: Arapahoe County Attorney's Office&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Kristi Erickson&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Assistant County Attorney&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Michael Valentine&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Assistant County Attorney&lt;/span&gt;, Aurora, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="412" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="412" data-sentence-id="412" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; B.H.: Bettenberg, &lt;span class="ldml-entity"&gt;Maguire &amp; Associates, LLC&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Alison A. Bettenberg&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-role"&gt;Guardian ad litem&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Sheena Knight&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-role"&gt;Guardian ad litem&lt;/span&gt;, Centennial, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="577" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="577" data-sentence-id="577" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; D.H.: &lt;span class="ldml-entity"&gt;The Saroyan Law Firm, L.L.C.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Zaven T. Saroyan&lt;/span&gt;&lt;/span&gt;, Colorado Springs, Colorado&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;h2 class="ldml-opinionheading"&gt;&lt;span data-paragraph-id="682" class="ldml-paragraph "&gt;&lt;span class="ldml-judgepanel"&gt;&lt;span data-paragraph-id="682" data-sentence-id="682" class="ldml-sentence"&gt;En Banc&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/h2&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="689" class="ldml-paragraph "&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (HOOD)"&gt;&lt;span data-paragraph-id="689" data-sentence-id="689" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HOOD&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="1031" data-vol="488" data-rep="P.3d" data-id="pagenumber_737"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="737" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="737" data-sentence-id="738" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_738"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Shortly after B.H.'s parents brought him to Colorado, &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; placed the two-year-old with a foster family.&lt;/span&gt; &lt;span data-paragraph-id="737" data-sentence-id="851" class="ldml-sentence"&gt;S.L.C. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;mother&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; was experiencing homelessness and abusing alcohol, and D.H. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;father&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; was struggling with mental health issues and continually returned B.H. to &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="737" data-sentence-id="1022" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; visited B.H. the day of the removal order and then never again.&lt;/span&gt; &lt;span data-paragraph-id="737" data-sentence-id="1093" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; made early progress with his treatment plan, but then threatened to kill his lawyer, B.H.'s lawyer, and a caseworker after &lt;span class="ldml-entity"&gt;father&lt;/span&gt; lost his job and housing.&lt;/span&gt; &lt;span data-paragraph-id="737" data-sentence-id="1256" class="ldml-sentence"&gt;The day after the threats, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; was arrested with a gun, ammunition, body armor, and methamphetamine in his car.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1370" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1370" data-sentence-id="1370" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1370"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; This opinion, issued the same day as &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891140524" data-vids="891140524" class="ldml-reference" data-prop-ids="sentence_1370"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of S.A.G.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2021 CO 38&lt;/span&gt;, &lt;span class="ldml-cite"&gt;487 P.3d 67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, resolves &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s appeal from the termination of his parental rights.&lt;/span&gt; &lt;span data-paragraph-id="1370" data-sentence-id="1535" class="ldml-sentence"&gt;Both &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; interpret the Uniform Child-custody &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1535"&gt;&lt;span class="ldml-cite"&gt;Jurisdiction and Enforcement Act &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"UCCJEA"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1370" data-sentence-id="1627" class="ldml-sentence"&gt;Having granted certiorari review under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, in this instance, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review the judgment of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1740" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1740" data-sentence-id="1741" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1741"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Unlike &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891140524" data-vids="891140524" class="ldml-reference" data-prop-ids="sentence_1741"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;S.A.G.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; concerns the jurisdictional effect of a potential prior child-custody determination from a different state.&lt;/span&gt; &lt;span data-paragraph-id="1740" data-sentence-id="1878" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that if an out-of-&lt;span class="ldml-entity"&gt;state court&lt;/span&gt; issued an order returning physical custody of a child to the parents, that satisfies the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1878"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s definition of &lt;span class="ldml-quotation quote"&gt;"child-custody determination."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="1740" data-sentence-id="2059" class="ldml-sentence"&gt;So, a &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; seeking to modify such an order must follow the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2059"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s procedures for acquiring modification jurisdiction.&lt;/span&gt; &lt;span data-paragraph-id="1740" data-sentence-id="2189" class="ldml-sentence"&gt;Since the record suggests that such an order exists and &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; didn't acquire jurisdiction to modify it, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; vacate the termination order and remand &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; for further jurisdictional factfinding.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2419" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2419" data-sentence-id="2419" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2419"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;This case&lt;/span&gt; also involves the separate issue of the constitutional and statutory protections that Colorado owes to indigent parents when it seeks to terminate their parental rights; namely, the right to appointed &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s duty to eliminate less drastic alternatives to termination.&lt;/span&gt; &lt;span data-paragraph-id="2419" data-sentence-id="2726" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; did not violate &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s due process rights by declining to appoint him a third attorney.&lt;/span&gt; &lt;span data-paragraph-id="2419" data-sentence-id="2852" class="ldml-sentence"&gt;Similarly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; did not violate &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s statutory right to appointed &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; because &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had impliedly waived it through his obstreperous and dilatory conduct.&lt;/span&gt; &lt;span data-paragraph-id="2419" data-sentence-id="3047" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; see no abuse of discretion by &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; when it concluded that there were no less drastic alternatives to termination.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="background" data-specifier="I" data-ordinal_end="1" data-confidences="very_high" data-parsed="true" data-content-heading-label="I. Facts and Procedural History" data-format="upper_case_roman_numeral" data-id="heading_3186" data-value="I. Facts and Procedural History" data-ordinal_start="1" id="heading_3186"&gt;&lt;span data-paragraph-id="3186" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="3186" data-sentence-id="3186" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="3186" data-sentence-id="3189" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="3217" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3217" data-sentence-id="3217" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3217"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;July 2018&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;Arapahoe County Department of Human Services&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"Department"&lt;/span&gt;)&lt;/span&gt; learned that &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; was experiencing homelessness and had been driving drunk with her two-year-old son, B.H.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3406" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3406" data-sentence-id="3406" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3406"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;August 2018&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;Arapahoe County District Court&lt;/span&gt; issued a verbal removal order for B.H., citing those issues as well as concerns about &lt;span class="ldml-entity"&gt;father&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3553" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3553" data-sentence-id="3553" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3553"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The Department believed that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had mental health issues and had repeatedly given B.H. to &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; despite her inability to care for him.&lt;/span&gt; &lt;span data-paragraph-id="3553" data-sentence-id="3696" class="ldml-sentence"&gt;The Department placed B.H. with a foster family and filed a petition alleging that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was dependent or neglected.&lt;/span&gt; &lt;span data-paragraph-id="3553" data-sentence-id="3810" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3696"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-502, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3840" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3840" data-sentence-id="3840" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3840"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The Department wasn't the first child-welfare agency to take B.H. from his parents.&lt;/span&gt; &lt;span data-paragraph-id="3840" data-sentence-id="3927" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;June 2016&lt;/span&gt;, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was the subject of an &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="1032" data-vol="488" data-rep="P.3d" data-id="pagenumber_3966"&gt;&lt;/span&gt; Indiana dependency and neglect proceeding.&lt;/span&gt; &lt;span data-paragraph-id="3840" data-sentence-id="4010" class="ldml-sentence"&gt;B.H. lived with an Indiana foster family for almost a year before &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was reunited with his parents in &lt;span class="ldml-entity"&gt;April 2017&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3840" data-sentence-id="4124" class="ldml-sentence"&gt;The record is silent on the details of this proceeding.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4179" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4179" data-sentence-id="4179" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4179"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Record evidence suggests that &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; and B.H. moved from Indiana to Colorado in &lt;span class="ldml-entity"&gt;April 2018&lt;/span&gt; and that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; followed in May.&lt;/span&gt; &lt;span data-paragraph-id="4179" data-sentence-id="4306" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; asserts that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; came to Colorado only temporarily, pointing to his &lt;span class="ldml-entity"&gt;November 2018&lt;/span&gt; statement that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[his]&lt;/span&gt; focus is getting through this process, &lt;span class="ldml-parenthetical"&gt;[to]&lt;/span&gt; get &lt;span class="ldml-parenthetical"&gt;[his]&lt;/span&gt; child home and leave the &lt;span class="ldml-entity"&gt;state of Colorado&lt;/span&gt; and return home to—to &lt;span class="ldml-parenthetical"&gt;[their]&lt;/span&gt; home in Indiana."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="4179" data-sentence-id="4561" class="ldml-sentence"&gt;The record also contains a statement from &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has a home and car in Indiana.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4657" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4657" data-sentence-id="4657" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4657"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; and B.H.'s guardian ad litem &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"GAL"&lt;/span&gt;)&lt;/span&gt; doubt the April and May arrival dates, claiming that parents' other Colorado dependency and neglect &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; for different children suggest that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; reached &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; earlier.&lt;/span&gt; &lt;span data-paragraph-id="4657" data-sentence-id="4883" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; and the GAL also argue that both parents moved here permanently, citing, among other evidence, &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s Colorado employment and the Colorado address that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; listed on his application for &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-appointed &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="5105" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="5105" data-sentence-id="5105" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5105"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;September 2018&lt;/span&gt;, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; admitted to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; that B.H. had been without proper care, so &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; adjudicated B.H. dependent and neglected.&lt;/span&gt; &lt;span data-paragraph-id="5105" data-sentence-id="5261" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5105"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-505&lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5105" data-sentence-id="5298" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; adopted a treatment plan that required &lt;span class="ldml-entity"&gt;father&lt;/span&gt; to maintain housing and employment, to develop a positive relationship with B.H. through visitation, to undergo a psychological evaluation and complete any recommended treatment, and to cooperate with the Department.&lt;/span&gt; &lt;span data-paragraph-id="5105" data-sentence-id="5571" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5298"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-508&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="5610" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="5610" data-sentence-id="5610" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5610"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;&lt;/span&gt; notched some early successes with his plan, but &lt;span class="ldml-entity"&gt;he&lt;/span&gt; lost his job and housing around &lt;span class="ldml-entity"&gt;January 2019&lt;/span&gt; and disclosed that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was sneaking into a drug house at night to sleep.&lt;/span&gt; &lt;span data-paragraph-id="5610" data-sentence-id="5789" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; began to behave erratically in front of B.H., causing his son to become dysregulated for hours after their visits.&lt;/span&gt; &lt;span data-paragraph-id="5610" data-sentence-id="5907" class="ldml-sentence"&gt;When the parenting coach intervened, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; reportedly confronted her aggressively.&lt;/span&gt; &lt;span data-paragraph-id="5610" data-sentence-id="5991" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; began to express suicidal thoughts and then, in &lt;span class="ldml-entity"&gt;April 2019&lt;/span&gt;, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; threatened to kill his &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-appointed lawyer, the Department caseworker, and the GAL.&lt;/span&gt; &lt;span data-paragraph-id="5610" data-sentence-id="6148" class="ldml-sentence"&gt;The day after those threats, the police arrested him and found a gun, ammunition, body armor, and methamphetamine in his car.&lt;/span&gt; &lt;span data-paragraph-id="5610" data-sentence-id="6274" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; suspended visits due to safety concerns, and the visits never resumed because &lt;span class="ldml-entity"&gt;father&lt;/span&gt; didn't attend &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-ordered counseling.&lt;/span&gt; &lt;span data-paragraph-id="5610" data-sentence-id="6409" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;September 2019&lt;/span&gt;, the Department filed a &lt;span class="ldml-entity"&gt;motion to terminate&lt;/span&gt; his parental rights.&lt;/span&gt; &lt;span data-paragraph-id="5610" data-sentence-id="6492" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6409"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-602, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6522" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6522" data-sentence-id="6522" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6522"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The court&lt;/span&gt; allowed &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s first &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to withdraw after the death threat and appointed a second attorney with whom &lt;span class="ldml-entity"&gt;father&lt;/span&gt; refused to cooperate, as &lt;span class="ldml-entity"&gt;father&lt;/span&gt; alleged that the lawyer was secretly working for &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6522" data-sentence-id="6749" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; attempted to fire this lawyer in &lt;span class="ldml-entity"&gt;August 2019&lt;/span&gt;, but the lawyer didn't communicate that request to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6522" data-sentence-id="6863" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; didn't have an opportunity to tell &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; himself because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had been arrested on drug charges right before his September hearing, and, while in custody, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; hadn't been transported to &lt;span class="ldml-entity"&gt;court&lt;/span&gt; for his November pre-trial conference for the termination hearing.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7129" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7129" data-sentence-id="7129" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7129"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; At the beginning of the termination hearing, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; passed his lawyer a note reiterating his desire to discharge him.&lt;/span&gt; &lt;span data-paragraph-id="7129" data-sentence-id="7251" class="ldml-sentence"&gt;The lawyer showed the note to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; characterized the situation as a mere &lt;span class="ldml-quotation quote"&gt;"disagree&lt;span class="ldml-parenthetical"&gt;[ment]&lt;/span&gt;"&lt;/span&gt; that didn't rise to the level of an ethical conflict meriting a new attorney.&lt;/span&gt; &lt;span data-paragraph-id="7129" data-sentence-id="7439" class="ldml-sentence"&gt;Nonetheless, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; organized a closed hearing before a different judge so that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; could make his case without affecting the termination hearing.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7591" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7591" data-sentence-id="7591" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7591"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; At the closed hearing, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; told the other judge that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; didn't &lt;span class="ldml-quotation quote"&gt;"have a problem"&lt;/span&gt; with his lawyer but that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had &lt;span class="ldml-quotation quote"&gt;"never clicked"&lt;/span&gt; and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; wanted a new attorney appointed.&lt;/span&gt; &lt;span data-paragraph-id="7591" data-sentence-id="7768" class="ldml-sentence"&gt;The judge found that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had been &lt;span class="ldml-quotation quote"&gt;"unequivocal about his intent to discharge"&lt;/span&gt; and allowed it.&lt;/span&gt; &lt;span data-paragraph-id="7591" data-sentence-id="7865" class="ldml-sentence"&gt;The judge told &lt;span class="ldml-entity"&gt;father&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;we&lt;/span&gt;'re going to go to number three,"&lt;/span&gt; that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"believe&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt;"&lt;/span&gt; that the trial judge would appoint another attorney, that &lt;span class="ldml-entity"&gt;he&lt;/span&gt;'d convey that request to her, and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt;'d &lt;span class="ldml-quotation quote"&gt;"pick up from there."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8077" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8077" data-sentence-id="8077" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8077"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; When the termination hearing resumed, the original, presiding &lt;span class="ldml-entity"&gt;court&lt;/span&gt; refused to appoint a replacement attorney, ruling that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"does not have a right to have a third &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-appointed attorney when it has &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="1033" data-vol="488" data-rep="P.3d" data-id="pagenumber_8287"&gt;&lt;/span&gt; been his actions that have caused the numerous attorneys to have to withdraw."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="8077" data-sentence-id="8367" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; found that threatening the first lawyer was an attempt to &lt;span class="ldml-quotation quote"&gt;"play the system."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="8077" data-sentence-id="8454" class="ldml-sentence"&gt;Marking &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s note as an exhibit, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; also found that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had &lt;span class="ldml-quotation quote"&gt;"create&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[his]&lt;/span&gt; own conflict of interest"&lt;/span&gt; with the second attorney.&lt;/span&gt; &lt;span data-paragraph-id="8077" data-sentence-id="8597" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; found that &lt;span class="ldml-quotation quote"&gt;"this was an attempt to delay the proceedings,"&lt;/span&gt; so denying &lt;span class="ldml-entity"&gt;father&lt;/span&gt; a third &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; was &lt;span class="ldml-quotation quote"&gt;"in the best interest of the minor child ... and potentially other &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-appointed attorneys."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8807" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8807" data-sentence-id="8807" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8807"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; After two days of testimony, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; concluded that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; hadn't complied with any aspect of his treatment plan:&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_8926" class="ldml-blockquote"&gt;&lt;span data-sentence-id="8926" class="ldml-sentence"&gt;• &lt;span class="ldml-entity"&gt;He&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"had been homeless the majority of his case or in and out of his car"&lt;/span&gt; and was &lt;span class="ldml-quotation quote"&gt;"currently in custody, which is not stable housing for a minor child."&lt;/span&gt;&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_9079" class="ldml-blockquote"&gt;&lt;span data-sentence-id="9079" class="ldml-sentence"&gt;• &lt;span class="ldml-entity"&gt;He&lt;/span&gt; had been &lt;span class="ldml-quotation quote"&gt;"dismissed from his work because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; got in an argument,"&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[h]&lt;/span&gt;e's currently incarcerated so &lt;span class="ldml-entity"&gt;he&lt;/span&gt;'s not able to have employment,"&lt;/span&gt; and there had been no documentation of employment for about ten months.&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_9290" class="ldml-blockquote"&gt;&lt;span data-sentence-id="9290" class="ldml-sentence"&gt;• &lt;span class="ldml-entity"&gt;He&lt;/span&gt; hadn't visited B.H. in more than nine months, there was no good cause for this failure, and it wasn't &lt;span class="ldml-quotation quote"&gt;"safe or appropriate"&lt;/span&gt; for him to have contact with B.H.&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_9452" class="ldml-blockquote"&gt;&lt;span data-sentence-id="9452" class="ldml-sentence"&gt;• &lt;span class="ldml-entity"&gt;He&lt;/span&gt; hadn't completed any of his psychological treatment recommendations successfully, didn't appreciate his need for therapy, and had &lt;span class="ldml-quotation quote"&gt;"disclosed using meth during the life of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_9639" class="ldml-blockquote"&gt;&lt;span data-sentence-id="9639" class="ldml-sentence"&gt;• &lt;span class="ldml-entity"&gt;He&lt;/span&gt; had repeatedly threatened Department staff, causing them to &lt;span class="ldml-quotation quote"&gt;"fear&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; for their li&lt;span class="ldml-parenthetical"&gt;[ves]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="9732" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9732" data-sentence-id="9732" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9732"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The court&lt;/span&gt; found that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; was unfit because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; wasn't willing and able to meet B.H.'s needs despite the Department's reasonable efforts to help him.&lt;/span&gt; &lt;span data-paragraph-id="9732" data-sentence-id="9887" class="ldml-sentence"&gt;The gap between &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s capacity and B.H.'s needs was especially large because B.H. has a developmental disability and had suffered &lt;span class="ldml-quotation quote"&gt;"severe trauma."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9732" data-sentence-id="10037" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also found that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; wouldn't become fit within a reasonable period of time.&lt;/span&gt; &lt;span data-paragraph-id="9732" data-sentence-id="10126" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; terminated his parental rights.&lt;/span&gt; &lt;span data-paragraph-id="9732" data-sentence-id="10179" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10126"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;a href="#note-fr1" class="ldml-noteanchor" id="note-ref-fr1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="10216" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10216" data-sentence-id="10216" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10216"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Along the way, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; rejected less drastic alternatives to termination.&lt;/span&gt; &lt;span data-paragraph-id="10216" data-sentence-id="10305" class="ldml-sentence"&gt;It categorically dismissed an allocation of parental responsibilities because B.H. needed the &lt;span class="ldml-quotation quote"&gt;"stability"&lt;/span&gt; of an adoption, contact with &lt;span class="ldml-entity"&gt;father&lt;/span&gt; was unsafe, and &lt;span class="ldml-entity"&gt;father&lt;/span&gt; was a danger to any potential placement.&lt;/span&gt; &lt;span data-paragraph-id="10216" data-sentence-id="10511" class="ldml-sentence"&gt;In particular, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; cited an incident in which &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had gone to B.H.'s foster home and screamed at the foster parents for six hours.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10650" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10650" data-sentence-id="10650" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10650"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The court&lt;/span&gt; specifically rejected any arrangement involving &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;, who, years earlier, had lost custody of &lt;span class="ldml-entity"&gt;father&lt;/span&gt; in her own dependency and neglect case.&lt;/span&gt; &lt;span data-paragraph-id="10650" data-sentence-id="10816" class="ldml-sentence"&gt;Although Illinois &lt;span class="ldml-parenthetical"&gt;(where &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; lives)&lt;/span&gt; had approved an Interstate Compact on the Placement of Children request for her on the condition that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; complete mental health therapy, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; doubted her &lt;span class="ldml-quotation quote"&gt;"perception of reality"&lt;/span&gt; because &lt;span class="ldml-entity"&gt;she&lt;/span&gt; insisted that the Department and the foster family had &lt;span class="ldml-quotation quote"&gt;"given &lt;span class="ldml-parenthetical"&gt;[B.H.]&lt;/span&gt; drugs"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"coached and groomed"&lt;/span&gt; him so that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could &lt;span class="ldml-quotation quote"&gt;"be&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; trafficked"&lt;/span&gt; and would let &lt;span class="ldml-entity"&gt;people&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"tak&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt; pictures of him."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10650" data-sentence-id="11249" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also found that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; wouldn't be a &lt;span class="ldml-quotation quote"&gt;"safe and appropriate person to give &lt;span class="ldml-parenthetical"&gt;[B.H.]&lt;/span&gt; to"&lt;/span&gt; since &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;he does not believe the minor child has significant needs"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;she&lt;/span&gt; wouldn't follow a &lt;span class="ldml-parenthetical"&gt;[hypothetical]&lt;/span&gt; &lt;span class="ldml-entity"&gt;court&lt;/span&gt; order of no contact between herself and &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;father&lt;/span&gt;]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11508" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11508" data-sentence-id="11508" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11508"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;&lt;/span&gt; appealed, arguing that the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11508"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; deprived &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; of subject matter jurisdiction to terminate his parental rights, that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; should have appointed a third attorney, and that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; abused its discretion when it found that the Department had made reasonable efforts to reunite his family.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11826" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11826" data-sentence-id="11826" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11826"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; and the GAL jointly petitioned &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to review &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; alongside &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891140524" data-vids="891140524" class="ldml-reference" data-prop-ids="sentence_11826"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;S.A.G.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11826" data-sentence-id="11936" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; accepted jurisdiction.&lt;a href="#note-fr2" class="ldml-noteanchor" id="note-ref-fr2"&gt;2&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="1034" data-vol="488" data-rep="P.3d" data-id="pagenumber_11962"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="analysis" data-specifier="II" data-ordinal_end="2" data-confidences="very_high" data-parsed="true" data-content-heading-label=" II. Analysis" data-format="upper_case_roman_numeral" data-id="heading_11962" data-value="II. Analysis" data-ordinal_start="2" id="heading_11962"&gt;&lt;span data-paragraph-id="11962" class="ldml-paragraph "&gt; &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="11962" data-sentence-id="11963" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="11962" data-sentence-id="11967" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="11975" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11975" data-sentence-id="11975" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11975"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin with whether &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; had subject matter jurisdiction to enter the termination order.&lt;/span&gt; &lt;span data-paragraph-id="11975" data-sentence-id="12084" class="ldml-sentence"&gt;Next, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review whether &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; violated &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s right to appointed &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11975" data-sentence-id="12173" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; address &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s allegations that the Department failed to explore a reasonable number of placement options and mail out family finding letters.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-format="upper_case_letters" data-specifier="A" data-ordinal_end="1" data-parsed="true" data-content-heading-label="A. The UCCJEA" data-id="heading_12329" data-value="A. The UCCJEA" data-ordinal_start="1" id="heading_12329"&gt;&lt;span data-paragraph-id="12329" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="12329" data-sentence-id="12329" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-paragraph-id="12329" data-sentence-id="12332" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12332"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="12342" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12342" data-sentence-id="12343" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12343"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;&lt;/span&gt; says &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; lacked jurisdiction when it terminated his parental rights because there was a previous child-custody determination from Indiana and &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; failed to follow the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12343"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s process for assuming jurisdiction to modify that determination.&lt;/span&gt; &lt;span data-paragraph-id="12342" data-sentence-id="12624" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; also asserts that Indiana was B.H.'s home state, so the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12624"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; required &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; to ask the &lt;span class="ldml-entity"&gt;Indiana court&lt;/span&gt; to decline jurisdiction before it could acquire jurisdiction.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="12808" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12808" data-sentence-id="12808" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12808"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; and the GAL counter that what happened in Indiana doesn't qualify as a prior child-custody determination, so there was no need to obtain jurisdiction to modify.&lt;/span&gt; &lt;span data-paragraph-id="12808" data-sentence-id="12984" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; also argue that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; properly exercised &lt;span class="ldml-quotation quote"&gt;"significant-connection"&lt;/span&gt; jurisdiction because B.H. had no home state when this proceeding began.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13130" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13130" data-sentence-id="13130" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13130"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Although &lt;span class="ldml-entity"&gt;we&lt;/span&gt; stop short of concluding that there was a prior child-custody determination in Indiana, the record suggests as much, as &lt;span class="ldml-entity"&gt;we&lt;/span&gt; explain below.&lt;/span&gt; &lt;span data-paragraph-id="13130" data-sentence-id="13284" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; remand &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; for additional jurisdictional factfinding.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-types="standardofreview" data-specifier="1" data-ordinal_end="1" data-confidences="very_high" data-parsed="true" data-content-heading-label="1. Standard of Review" data-format="number" data-id="heading_13379" data-value="1. Standard of Review" data-ordinal_start="1" id="heading_13379"&gt;&lt;span data-paragraph-id="13379" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="13379" data-sentence-id="13379" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="13379" data-sentence-id="13382" class="ldml-sentence"&gt;Standard of Review&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="13400" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13400" data-sentence-id="13401" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13401"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; review de novo whether &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; had subject matter jurisdiction over a child-custody proceeding.&lt;/span&gt; &lt;span data-paragraph-id="13400" data-sentence-id="13513" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofbrandtvbrandtno11sa2482012co3,268p3d406jan23,2012" data-prop-ids="sentence_13401"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Brandt v. Brandt&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2012 CO 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13401"&gt;&lt;span class="ldml-cite"&gt;¶ 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofbrandtvbrandtno11sa2482012co3,268p3d406jan23,2012"&gt;&lt;span class="ldml-cite"&gt;268 P.3d 406, 410&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13400" data-sentence-id="13567" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;father&lt;/span&gt; did not raise this issue below, &lt;span class="ldml-quotation quote"&gt;"lack of &lt;span class="ldml-parenthetical"&gt;[subject matter]&lt;/span&gt; jurisdiction can be raised for the first time on appeal."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13400" data-sentence-id="13699" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofclt,2017coa119" data-prop-ids="sentence_13567"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Int. of C.L.T.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2017 COA 119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13567"&gt;&lt;span class="ldml-cite"&gt;¶ 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofcltno16ca1416405p3d510september7,2017"&gt;&lt;span class="ldml-cite"&gt;405 P.3d 510, 513&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-format="number" data-specifier="2" data-ordinal_end="2" data-parsed="true" data-content-heading-label="2. Jurisdiction to Modify a Prior Child-Custody Determination" data-id="heading_13763" data-value="2. Jurisdiction to Modify a Prior Child-Custody Determination" data-ordinal_start="2" id="heading_13763"&gt;&lt;span data-paragraph-id="13763" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="13763" data-sentence-id="13763" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="13763" data-sentence-id="13766" class="ldml-sentence"&gt;Jurisdiction to Modify a Prior Child-Custody Determination&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="13824" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13824" data-sentence-id="13825" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13825"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13825"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is a &lt;span class="ldml-quotation quote"&gt;"limiting &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;"&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"offers &lt;span class="ldml-entity"&gt;Colorado courts&lt;/span&gt; two ways to employ their power to ... issue a &lt;span class="ldml-quotation quote"&gt;‘child-custody determination’&lt;/span&gt; "&lt;/span&gt;: temporary emergency and non-emergency jurisdiction.&lt;/span&gt; &lt;span data-paragraph-id="13824" data-sentence-id="14024" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13825"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;S.A.G.,&lt;/i&gt; ¶¶ 23–24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="14041" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14041" data-sentence-id="14042" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14042"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; agree that the termination order required non-emergency jurisdiction.&lt;/span&gt; &lt;span data-paragraph-id="14041" data-sentence-id="14128" class="ldml-sentence"&gt;In the absence of temporary emergency jurisdiction, &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;14-13-203&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, provides that &lt;span class="ldml-quotation quote"&gt;"a &lt;span class="ldml-entity"&gt;court&lt;/span&gt; of this state may not modify a child-custody determination made by &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; of another state unless"&lt;/span&gt; the &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; complies with that &lt;span class="ldml-entity"&gt;section&lt;/span&gt;.&lt;a href="#note-fr3" class="ldml-noteanchor" id="note-ref-fr3"&gt;3&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="14041" data-sentence-id="14387" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14387"&gt;&lt;span class="ldml-cite"&gt;Section 14-13-203&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; requires the &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; to acquire either &lt;span class="ldml-quotation quote"&gt;"home-state"&lt;/span&gt; or significant-connection jurisdiction under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14387"&gt;&lt;span class="ldml-cite"&gt;section 14-13-201&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; or &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2020&lt;/span&gt;)&lt;/span&gt;.&lt;a href="#note-fr4" class="ldml-noteanchor" id="note-ref-fr4"&gt;4&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="14041" data-sentence-id="14559" class="ldml-sentence"&gt;Additionally, one of three things needs to happen: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the out-of-&lt;span class="ldml-entity"&gt;state court&lt;/span&gt; &lt;i class="ldml-italics"&gt;or&lt;/i&gt; &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="1035" data-vol="488" data-rep="P.3d" data-id="pagenumber_14640"&gt;&lt;/span&gt; the &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; must determine that &lt;span class="ldml-quotation quote"&gt;"the child, the child's parents, and any person acting as a parent do not presently reside in the other state"&lt;/span&gt;; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the out-of-&lt;span class="ldml-entity"&gt;state court&lt;/span&gt; must determine that those same &lt;span class="ldml-entity"&gt;people&lt;/span&gt; lack a significant connection to the other state and there isn't substantial evidence of the child's welfare there; or &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the out-of-&lt;span class="ldml-entity"&gt;state court&lt;/span&gt; must find that Colorado would be the more convenient forum.&lt;/span&gt; &lt;span data-paragraph-id="14041" data-sentence-id="15063" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14559"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-203&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(cross-referencing &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14559"&gt;&lt;span class="ldml-cite"&gt;§§ 14-13-202, - 207&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2020&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofclt,2017coa119" data-prop-ids="sentence_14559"&gt;&lt;span class="ldml-refname"&gt;C.L.T.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14559"&gt;&lt;span class="ldml-cite"&gt;¶ 31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofcltno16ca1416405p3d510september7,2017"&gt;&lt;span class="ldml-cite"&gt;405 P.3d at 515–16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="15177" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15177" data-sentence-id="15177" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15177"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Fleshing out these requirements, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; start with the two ways to acquire home-state jurisdiction:&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_15276" class="ldml-blockquote"&gt;&lt;span data-sentence-id="15276" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A court&lt;/span&gt; has home-state jurisdiction if Colorado was &lt;span class="ldml-quotation quote"&gt;"the home state of the child &lt;span class="ldml-parenthetical"&gt;[at]&lt;/span&gt; the commencement of the proceeding."&lt;/span&gt;&lt;/span&gt; &lt;span data-sentence-id="15399" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15276"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-201&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-sentence-id="15418" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;‘Home state’&lt;/span&gt; means &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; in which a child lived with a parent or a person acting as a parent for at least &lt;span class="ldml-parenthetical"&gt;[182]&lt;/span&gt; consecutive days immediately before the commencement of a child-custody proceeding,"&lt;/span&gt; and includes any &lt;span class="ldml-quotation quote"&gt;"period of temporary absence."&lt;/span&gt;&lt;/span&gt; &lt;span data-sentence-id="15669" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15418"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-102&lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-sentence-id="15688" class="ldml-sentence"&gt;Home-state jurisdiction also exists &lt;span class="ldml-quotation quote"&gt;"if the child lived in &lt;span class="ldml-parenthetical"&gt;[Colorado]&lt;/span&gt; for a consecutive &lt;span class="ldml-parenthetical"&gt;[182-day]&lt;/span&gt; period ... at any time during the &lt;span class="ldml-parenthetical"&gt;[182 days]&lt;/span&gt; before the filing of the custody proceeding"&lt;/span&gt; and the child is absent from Colorado but a parent &lt;span class="ldml-parenthetical"&gt;(or person acting as parent)&lt;/span&gt; still lives here.&lt;/span&gt; &lt;span data-sentence-id="15974" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888158713" data-vids="888158713" class="ldml-reference" data-prop-ids="sentence_15688"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;In re Parental Resps. Concerning L.S.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;257 P.3d 201, 208&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/blockquote&gt;&lt;p data-paragraph-id="16044" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="16044" data-sentence-id="16045" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;S.A.G.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;¶ 26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;alterations in original&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="16084" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="16084" data-sentence-id="16084" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16084"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In contrast, significant-connection jurisdiction exists when&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_16148" class="ldml-blockquote"&gt;&lt;span data-sentence-id="16148" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he child and the child's parents, or the child and at least one parent or a person acting as a parent, have a significant connection with &lt;span class="ldml-parenthetical"&gt;[Colorado]&lt;/span&gt; other than mere physical presence"&lt;/span&gt;; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;ubstantial evidence is available in &lt;span class="ldml-parenthetical"&gt;[Colorado]&lt;/span&gt; concerning the child's"&lt;/span&gt; welfare; and either no &lt;span class="ldml-entity"&gt;court&lt;/span&gt; of another state has home-state jurisdiction or &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; of the home state &lt;span class="ldml-quotation quote"&gt;"has declined to exercise jurisdiction on the ground that &lt;span class="ldml-parenthetical"&gt;[Colorado]&lt;/span&gt; is the more appropriate forum."&lt;/span&gt;&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="16615" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="16615" data-sentence-id="16616" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;alterations in original&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-201&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="16675" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="16675" data-sentence-id="16676" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16676"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Even after acquiring home-state or significant-connection jurisdiction, the only way for a &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; to assert modification jurisdiction without the agreement of the out-of-&lt;span class="ldml-entity"&gt;state court&lt;/span&gt; that issued the prior child-custody determination is for the &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; to find that the child and parents don't &lt;span class="ldml-quotation quote"&gt;"presently reside"&lt;/span&gt; in the other state.&lt;/span&gt; &lt;span data-paragraph-id="16675" data-sentence-id="17026" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16676"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-203&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16675" data-sentence-id="17045" class="ldml-sentence"&gt;That phrase &lt;span class="ldml-quotation quote"&gt;"necessitates an inquiry broader than &lt;span class="ldml-quotation quote"&gt;‘technical domicile’&lt;/span&gt; into the totality of the circumstances that make up domicile—that is, a person's permanent home to which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; or &lt;span class="ldml-entity"&gt;she&lt;/span&gt; intends to return to and remain."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="16675" data-sentence-id="17265" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofbrandtvbrandtno11sa2482012co3,268p3d406jan23,2012" data-prop-ids="sentence_17045"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Brandt&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17045"&gt;&lt;span class="ldml-cite"&gt;¶ 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofbrandtvbrandtno11sa2482012co3,268p3d406jan23,2012"&gt;&lt;span class="ldml-cite"&gt;268 P.3d at 408&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16675" data-sentence-id="17296" class="ldml-sentence"&gt;Mere &lt;span class="ldml-quotation quote"&gt;"physical presence"&lt;/span&gt; isn't dispositive:&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_17339" class="ldml-blockquote"&gt;&lt;span data-sentence-id="17339" class="ldml-sentence"&gt;Factors ... include ... the length and reasons for the parents' and the child's absence from the issuing state; their intent in departing from &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; ...; reserve and active military assignments affecting one or both parents; where &lt;span class="ldml-entity"&gt;they&lt;/span&gt; maintain a home, car, driver's license, job, professional licensure, and voting registration; where &lt;span class="ldml-entity"&gt;they&lt;/span&gt; pay state taxes; the issuing state's determination of residency based on the facts and the issuing state's law; and any other circumstances demonstrated by evidence in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt;&lt;/blockquote&gt;&lt;p data-paragraph-id="17861" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17861" data-sentence-id="17862" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofbrandtvbrandtno11sa2482012co3,268p3d406jan23,2012"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="17865" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17865" data-sentence-id="17866" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17866"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The out-of-&lt;span class="ldml-entity"&gt;state court&lt;/span&gt; needn't assent to the &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt;'s finding on present residence, but &lt;span class="ldml-quotation quote"&gt;"before &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; of this state may assume jurisdiction to modify an out-of-state custody order, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must &lt;span class="ldml-parenthetical"&gt;[at least]&lt;/span&gt; communicate with the issuing state pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17866"&gt;&lt;span class="ldml-cite"&gt;sections 14-13-110&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to -112."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17865" data-sentence-id="18163" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18163"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18163"&gt;&lt;span class="ldml-cite"&gt;¶ 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofbrandtvbrandtno11sa2482012co3,268p3d406jan23,2012" data-prop-ids="sentence_18163"&gt;&lt;span class="ldml-cite"&gt;268 P.3d at 413&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;accord&lt;/span&gt; &lt;/i&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofclt,2017coa119" data-prop-ids="sentence_18163"&gt;&lt;span class="ldml-refname"&gt;C.L.T.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18163"&gt;&lt;span class="ldml-cite"&gt;¶ 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofcltno16ca1416405p3d510september7,2017" data-prop-ids="sentence_18163"&gt;&lt;span class="ldml-cite"&gt;405 P.3d at 514–15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"If a &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; learns ... that an out-of-state custody order has been entered, the &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; must communicate with &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; of the other state before continuing."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;a href="#note-fr5" class="ldml-noteanchor" id="note-ref-fr5"&gt;5&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-format="number" data-specifier="3" data-ordinal_end="3" data-parsed="true" data-content-heading-label="3. Existence of a Prior Child-Custody Determination" data-id="heading_18413" data-value="3. Existence of a Prior Child-Custody Determination" data-ordinal_start="3" id="heading_18413"&gt;&lt;span data-paragraph-id="18413" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="18413" data-sentence-id="18413" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-paragraph-id="18413" data-sentence-id="18416" class="ldml-sentence"&gt;Existence of a Prior Child-Custody Determination&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="18464" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="18464" data-sentence-id="18464" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18464"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18464"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; defines &lt;span class="ldml-quotation quote"&gt;"child-custody determination"&lt;/span&gt; expansively: &lt;span class="ldml-quotation quote"&gt;"a judgment, decree, &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="1036" data-vol="488" data-rep="P.3d" data-id="pagenumber_18551"&gt;&lt;/span&gt; or other order of &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; providing for the legal custody or physical custody of a child or allocating parental responsibilities ... or providing for visitation &lt;span class="ldml-parenthetical"&gt;[or]&lt;/span&gt; parenting time,"&lt;/span&gt; including &lt;span class="ldml-quotation quote"&gt;"a permanent, temporary, initial, &lt;span class="ldml-parenthetical"&gt;[or]&lt;/span&gt; modification order."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18464" data-sentence-id="18805" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18464"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-102&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="18835" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="18835" data-sentence-id="18835" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18835"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Since &lt;span class="ldml-quotation quote"&gt;"child-custody determination"&lt;/span&gt; includes even &lt;span class="ldml-quotation quote"&gt;"temporary"&lt;/span&gt; orders &lt;span class="ldml-quotation quote"&gt;"providing for ... physical custody,"&lt;/span&gt; it appears that the &lt;span class="ldml-entity"&gt;Indiana court&lt;/span&gt; issued at least two: one when it sent B.H. to the Indiana foster family and another when it sent him home.&lt;/span&gt; &lt;span data-paragraph-id="18835" data-sentence-id="19087" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18835"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-102&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_19134,sentence_18835"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-102&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;" ‘Physical custody’ means the physical care and supervision of a child."&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="18835" data-sentence-id="19208" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="19209" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="19209" data-sentence-id="19209" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19209"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; and the GAL argue that any orders from the &lt;span class="ldml-entity"&gt;Indiana court&lt;/span&gt; wouldn't qualify as child-custody determinations because B.H.'s reunification with his parents coincided with the dismissal of the Indiana action.&lt;/span&gt; &lt;span data-paragraph-id="19209" data-sentence-id="19428" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;we&lt;/span&gt; doubt that the &lt;span class="ldml-entity"&gt;Indiana court&lt;/span&gt; could have accomplished the transfer of physical custody back to B.H.'s parents without an order that meets the statutory definition of &lt;span class="ldml-quotation quote"&gt;"child-custody determination."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19209" data-sentence-id="19631" class="ldml-sentence"&gt;In Colorado, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;hen &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; finds that the allegations of the &lt;span class="ldml-parenthetical"&gt;[dependency or neglect]&lt;/span&gt; petition are not supported ..., &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall order ... the child discharged from any detention or restriction previously ordered."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19209" data-sentence-id="19854" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19631"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-505&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="19868" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19868" data-sentence-id="19869" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19869"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Further, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have interpreted very similar definitions of &lt;span class="ldml-quotation quote"&gt;"custody determination"&lt;/span&gt; to focus on orders' &lt;span class="ldml-quotation quote"&gt;"effect&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19868" data-sentence-id="19987" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890099296" data-vids="890099296" class="ldml-reference" data-prop-ids="embeddedsentence_20055,sentence_19869"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;G.B. v. Arapahoe Cnty. Ct.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;890 P.2d 1153, 1157, 1160&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;involving &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; that preceded the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19869"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and the federal &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19869"&gt;&lt;span class="ldml-cite"&gt;Parental Kidnapping Prevention Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19868" data-sentence-id="20155" class="ldml-sentence"&gt;A temporary restraining order was a custody determination when it effectively granted exclusive custody to one parent, even after the order was amended to omit explicit references to custody.&lt;/span&gt; &lt;span data-paragraph-id="19868" data-sentence-id="20347" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890099296" data-vids="890099296" class="ldml-reference" data-prop-ids="sentence_20155"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19868" data-sentence-id="20351" class="ldml-sentence"&gt;So, an order dismissing a dependency and neglect case is a &lt;span class="ldml-quotation quote"&gt;"child-custody determination"&lt;/span&gt; if it had the effect of returning physical custody to a child's parents.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20512" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20512" data-sentence-id="20512" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20512"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; If an Indiana order effectively returning physical custody to B.H.'s parents exists, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; never acquired jurisdiction to modify it because &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; didn't follow the relevant &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20512"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; procedures.&lt;/span&gt; &lt;span data-paragraph-id="20512" data-sentence-id="20734" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20512"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-203&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20512" data-sentence-id="20754" class="ldml-sentence"&gt;The only way for &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; to have wrested jurisdiction away without some action by the &lt;span class="ldml-entity"&gt;Indiana court&lt;/span&gt; would have been for it to find that B.H. and his parents didn't presently reside in Indiana, which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have held requires contacting the out-of-&lt;span class="ldml-entity"&gt;state court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20512" data-sentence-id="21021" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20754"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/i&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofbrandtvbrandtno11sa2482012co3,268p3d406jan23,2012" data-prop-ids="sentence_20754"&gt;&lt;span class="ldml-refname"&gt;Brandt&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20754"&gt;&lt;span class="ldml-cite"&gt;¶¶ 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, 35, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofbrandtvbrandtno11sa2482012co3,268p3d406jan23,2012"&gt;&lt;span class="ldml-cite"&gt;268 P.3d at 408, 413&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20512" data-sentence-id="21070" class="ldml-sentence"&gt;That didn't happen.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21089" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="21089" data-sentence-id="21090" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21090"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; stop short, however, of finding that the &lt;span class="ldml-entity"&gt;Indiana court&lt;/span&gt; issued a child-custody determination because &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[o]&lt;/span&gt;ur role does not include fact finding."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21089" data-sentence-id="21241" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofbrandtvbrandtno11sa2482012co3,268p3d406jan23,2012" data-prop-ids="sentence_21090"&gt;&lt;span class="ldml-refname"&gt;Brandt&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21090"&gt;&lt;span class="ldml-cite"&gt;¶ 51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofbrandtvbrandtno11sa2482012co3,268p3d406jan23,2012"&gt;&lt;span class="ldml-cite"&gt;268 P.3d at 416&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21089" data-sentence-id="21272" class="ldml-sentence"&gt;The record doesn't reveal the legal mechanism that caused B.H. to reunify with his parents, and the Department told &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; that it &lt;span class="ldml-quotation quote"&gt;"d&lt;span class="ldml-parenthetical"&gt;[id]&lt;/span&gt;n't know whether or not a custody order was issued."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21089" data-sentence-id="21474" class="ldml-sentence"&gt;It would be inappropriate for &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to fill in that blank.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21529" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="21529" data-sentence-id="21530" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21530"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Confronted with the possibility that &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; lacked jurisdiction to modify a prior child-custody determination plus a &lt;span class="ldml-quotation quote"&gt;"record &lt;span class="ldml-parenthetical"&gt;[that]&lt;/span&gt; contains at least some indication"&lt;/span&gt; of such a prior determination, a division of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; held that &lt;span class="ldml-quotation quote"&gt;"the judgment must be vacated, and &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; must be remanded for further proceedings to determine jurisdiction."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21529" data-sentence-id="21897" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofclt,2017coa119" data-prop-ids="sentence_21530"&gt;&lt;span class="ldml-refname"&gt;C.L.T.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21530"&gt;&lt;span class="ldml-cite"&gt;¶ 41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofcltno16ca1416405p3d510september7,2017"&gt;&lt;span class="ldml-cite"&gt;405 P.3d at 517&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21529" data-sentence-id="21928" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofclt,2017coa119" data-prop-ids="sentence_21928"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;C.L.T.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;,&lt;/i&gt; a child-welfare agency &lt;span class="ldml-quotation quote"&gt;"reported that &lt;span class="ldml-parenthetical"&gt;[certain]&lt;/span&gt; Texas proceedings were &lt;span class="ldml-quotation quote"&gt;‘closed,’&lt;/span&gt; but &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; was not told whether the proceedings were closed with a &lt;span class="ldml-quotation quote"&gt;‘child&lt;span class="ldml-parenthetical"&gt;[-custody determination]&lt;/span&gt;’&lt;/span&gt; as defined by the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21928"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21529" data-sentence-id="22150" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21928"&gt;&lt;span class="ldml-cite"&gt;¶ 33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofcltno16ca1416405p3d510september7,2017"&gt;&lt;span class="ldml-cite"&gt;405 P.3d at 516&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21529" data-sentence-id="22173" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; take the same approach here.&lt;/span&gt; &lt;span data-paragraph-id="21529" data-sentence-id="22205" class="ldml-sentence"&gt;This resolution also accords with the result of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891140524" data-vids="891140524" class="ldml-reference" data-prop-ids="sentence_22205"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;S.A.G.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; : Record evidence tending to suggest that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; didn't have non-emergency &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22205"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; jurisdiction requires &lt;span class="ldml-entity"&gt;appellate courts&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"to &lt;span class="ldml-quotation quote"&gt;‘vacate &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s order ... and remand &lt;span class="ldml-parenthetical"&gt;[the]&lt;/span&gt; case for &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; to conduct a full analysis under Colorado's &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22205"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22205"&gt;&lt;span class="ldml-cite"&gt;section 14-13-201&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21529" data-sentence-id="22538" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22205"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;S.A.G.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;¶ 45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;alteration in original&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:madronevmadrone,2012co70" data-prop-ids="sentence_22205"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Madrone v. Madrone&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2012 CO 70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22205"&gt;&lt;span class="ldml-cite"&gt;¶ 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofmadronevmadroneno12sa222290p3d478nov27,2012" data-prop-ids="sentence_22205"&gt;&lt;span class="ldml-cite"&gt;290 P.3d 478, 482&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="22643" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="22643" data-sentence-id="22644" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22644"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; On remand, &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"the &lt;span class="ldml-entity"&gt;court&lt;/span&gt; may require &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; ... to provide additional information under oath.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;And &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; may examine &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="1037" data-vol="488" data-rep="P.3d" data-id="pagenumber_22766"&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; under oath &lt;span class="ldml-quotation quote"&gt;‘as to details of the information furnished and other matters pertinent to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s jurisdiction ....’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22643" data-sentence-id="22898" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofclt,2017coa119" data-prop-ids="sentence_22644"&gt;&lt;span class="ldml-refname"&gt;C.L.T.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22644"&gt;&lt;span class="ldml-cite"&gt;¶ 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofcltno16ca1416405p3d510september7,2017"&gt;&lt;span class="ldml-cite"&gt;405 P.3d at 516&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-209&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="22969" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22969" data-sentence-id="22969" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22969"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; If it turns out that there was an Indiana order effectively shifting physical custody of B.H., then &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; will need to comply with the procedures of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22969"&gt;&lt;span class="ldml-cite"&gt;section 14-13-203&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22969" data-sentence-id="23157" class="ldml-sentence"&gt;Those procedures require certain actions by the &lt;span class="ldml-entity"&gt;Indiana court&lt;/span&gt; or a finding by the &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; that the family no longer presently resides in Indiana.&lt;/span&gt; &lt;span data-paragraph-id="22969" data-sentence-id="23310" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23157"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-203&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22969" data-sentence-id="23326" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; will also need to acquire either home-state or significant-connection jurisdiction.&lt;/span&gt; &lt;span data-paragraph-id="22969" data-sentence-id="23420" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23326"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/i&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22969" data-sentence-id="23428" class="ldml-sentence"&gt;It would have home-state jurisdiction only if it finds that B.H. came to Colorado more than six months before this proceeding began.&lt;/span&gt; &lt;span data-paragraph-id="22969" data-sentence-id="23561" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23428"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-201&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22969" data-sentence-id="23584" class="ldml-sentence"&gt;Significant-connection jurisdiction would require findings that B.H. and his parents have significant connections to Colorado and that substantial evidence exists here of his welfare.&lt;/span&gt; &lt;span data-paragraph-id="22969" data-sentence-id="23768" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23584"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-201&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="23790" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="23790" data-sentence-id="23790" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23790"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Unlike &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891140524" data-vids="891140524" class="ldml-reference" data-prop-ids="sentence_23790"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;S.A.G.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; doesn't implicate the other requirement for significant-connection jurisdiction: that the &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; invite any out-of-&lt;span class="ldml-entity"&gt;state court&lt;/span&gt; with home-state jurisdiction to decline to exercise that jurisdiction.&lt;/span&gt; &lt;span data-paragraph-id="23790" data-sentence-id="24026" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23790"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/i&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23790"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;S.A.G.,&lt;/i&gt; ¶¶ 48–51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23790" data-sentence-id="24053" class="ldml-sentence"&gt;Indiana has lost home-state jurisdiction because B.H. hasn't lived there for the last six months and Indiana's definition of &lt;span class="ldml-quotation quote"&gt;"home state"&lt;/span&gt; doesn't excuse temporary absences of children.&lt;/span&gt; &lt;span data-paragraph-id="23790" data-sentence-id="24238" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="statute:/in/statutes/31/21/2/8" data-prop-ids="sentence_24053"&gt;&lt;span class="ldml-cite"&gt;Ind. Code Ann. §§ 31-21-2-8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, - 5-1&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(West &lt;span class="ldml-entity"&gt;2021&lt;/span&gt;)&lt;/span&gt;.&lt;a href="#note-fr6" class="ldml-noteanchor" id="note-ref-fr6"&gt;6&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="23790" data-sentence-id="24296" class="ldml-sentence"&gt;In contrast, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891140524" data-vids="891140524" class="ldml-reference" data-prop-ids="sentence_24296"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;S.A.G.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;,&lt;/i&gt; it was possible that Arkansas still had home-state jurisdiction on the date of the termination order because Arkansas's definition of &lt;span class="ldml-quotation quote"&gt;"home state"&lt;/span&gt; ignores a child's temporary absences and it was conceivable that the child's entire stay in Colorado had been a temporary absence from Arkansas.&lt;/span&gt; &lt;span data-paragraph-id="23790" data-sentence-id="24613" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24296"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;S.A.G.,&lt;/i&gt; ¶ 43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="24626" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="24626" data-sentence-id="24626" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24626"&gt;&lt;span class="ldml-cite"&gt;¶44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; But if &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; finds that the &lt;span class="ldml-entity"&gt;Indiana court&lt;/span&gt; never issued a child-custody determination that had the effect of shifting physical custody of B.H. back to his parents, then &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; could take any of the four paths to non-emergency &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24626"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; jurisdiction.&lt;/span&gt; &lt;span data-paragraph-id="24626" data-sentence-id="24901" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_24921,sentence_24626"&gt;&lt;span class="ldml-cite"&gt;§ 14-13-201&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;providing for home-state, significant-connection, more-appropriate-forum, and last-resort jurisdiction&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25025" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="25025" data-sentence-id="25025" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25025"&gt;&lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In sum, it would be inappropriate for &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to find that a prior child-custody determination exists.&lt;/span&gt; &lt;span data-paragraph-id="25025" data-sentence-id="25127" class="ldml-sentence"&gt;If the &lt;span class="ldml-entity"&gt;Indiana court&lt;/span&gt; did issue such an order, then &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; didn't acquire jurisdiction to modify it, and, on remand, it will need to follow the procedures of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25127"&gt;&lt;span class="ldml-cite"&gt;section 14-13-203&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25025" data-sentence-id="25318" class="ldml-sentence"&gt;If not, then &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; will need to acquire jurisdiction under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25318"&gt;&lt;span class="ldml-cite"&gt;section 14-13-201&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25025" data-sentence-id="25412" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"If the &lt;span class="ldml-parenthetical"&gt;[district]&lt;/span&gt; court does acquire non-emergency jurisdiction ..., it may reinstate the termination judgment based on the existing record."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="25025" data-sentence-id="25555" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25412"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;S.A.G.,&lt;/i&gt; ¶ 58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-format="upper_case_letters" data-specifier="B" data-ordinal_end="2" data-parsed="true" data-content-heading-label="B. The Right to Appointed Counsel" data-id="heading_25568" data-value="B. The Right to Appointed Counsel" data-ordinal_start="2" id="heading_25568"&gt;&lt;span data-paragraph-id="25568" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="25568" data-sentence-id="25568" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="25568" data-sentence-id="25571" class="ldml-sentence"&gt;The Right to Appointed &lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="25601" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="25601" data-sentence-id="25601" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25601"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Next, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; argues that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; violated his due process and statutory rights to appointed &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25601" data-sentence-id="25717" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; says that requiring him to proceed pro se at the termination hearing was fundamentally unfair.&lt;/span&gt; &lt;span data-paragraph-id="25601" data-sentence-id="25829" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; also contends that his release of the second attorney was involuntary because &lt;span class="ldml-entity"&gt;he&lt;/span&gt;'d been led to believe &lt;span class="ldml-entity"&gt;he&lt;/span&gt;'d get another.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25956" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="25956" data-sentence-id="25956" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25956"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; and the GAL counter that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had no due process right to appointed &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; under the balancing test from &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_25956"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;C.S. v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;83 P.3d 627, 636–37&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, because the risk of an erroneous termination of parental rights was low.&lt;/span&gt; &lt;span data-paragraph-id="25956" data-sentence-id="26202" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; also argue that the dismissal of the second attorney was voluntary because the judge in the closed hearing made clear that the trial judge would have the final say on whether to appoint a third attorney.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26410" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="26410" data-sentence-id="26410" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26410"&gt;&lt;span class="ldml-cite"&gt;¶48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree with &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; and the GAL that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had no due process right to a third attorney because the risk of error was low.&lt;/span&gt; &lt;span data-paragraph-id="26410" data-sentence-id="26543" class="ldml-sentence"&gt;And, based on the totality of the circumstances, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; impliedly and voluntarily waived his statutory right to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="1038" data-vol="488" data-rep="P.3d" data-id="pagenumber_26663"&gt;&lt;/span&gt; through his obstreperous and dilatory conduct.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-types="standardofreview" data-specifier="1" data-ordinal_end="1" data-confidences="very_high" data-parsed="true" data-content-heading-label="1. Standard of Review" data-format="number" data-id="heading_26710" data-value="1. Standard of Review" data-ordinal_start="1" id="heading_26710"&gt;&lt;span data-paragraph-id="26710" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="26710" data-sentence-id="26710" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="26710" data-sentence-id="26713" class="ldml-sentence"&gt;Standard of Review&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="26731" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26731" data-sentence-id="26732" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26732"&gt;&lt;span class="ldml-cite"&gt;¶49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;We&lt;/span&gt; review procedural due process claims de novo."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26731" data-sentence-id="26787" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofcj,2017coa157" data-prop-ids="sentence_26732"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Int. of C.J.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2017 COA 157&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26732"&gt;&lt;span class="ldml-cite"&gt;¶ 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofcjno16ca2072410p3d839december14,2017"&gt;&lt;span class="ldml-cite"&gt;410 P.3d 839, 842&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26849" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26849" data-sentence-id="26850" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26850"&gt;&lt;span class="ldml-cite"&gt;¶50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The &lt;span class="ldml-quotation quote"&gt;"waiver of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; is a mixed question of fact and law."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26849" data-sentence-id="26915" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892097072" data-vids="892097072" class="ldml-reference" data-prop-ids="sentence_26850"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Bergerud&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;223 P.3d 686, 693&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2010&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888872014" data-vids="888872014" class="ldml-reference" data-prop-ids="sentence_26850"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Alengi&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;148 P.3d 154, 159&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2006&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26849" data-sentence-id="27027" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have said that challenges to effective waiver call for de novo review, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892097072" data-vids="892097072" class="ldml-reference" data-prop-ids="sentence_27027"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;,&lt;/i&gt; it would be more complete to say that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;e accept &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s findings of historic fact if those findings are supported by competent evidence, but &lt;span class="ldml-entity"&gt;we&lt;/span&gt; assess the legal significance of the facts de novo,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevthompson,2021co15" data-prop-ids="sentence_27027"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Thompson&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2021 CO 15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27027"&gt;&lt;span class="ldml-cite"&gt;¶ 15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:–––p3d––––" data-prop-ids="sentence_27027"&gt;&lt;span class="ldml-cite"&gt;––– P.3d ––––&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;alteration in original&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887029916" data-vids="887029916" class="ldml-reference" data-prop-ids="sentence_27027"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Coke&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2020 CO 28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27027"&gt;&lt;span class="ldml-cite"&gt;¶ 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887029916" data-vids="887029916" class="ldml-reference" data-prop-ids="sentence_27027"&gt;&lt;span class="ldml-cite"&gt;461 P.3d 508, 512&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofajl,243p3d244,249-50,253colo2010" data-prop-ids="sentence_27027"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Int. of A.J.L.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;243 P.3d 244, 249–50&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2010&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he correct legal standard ... is a matter of law. ...&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;The credibility of witnesses&lt;span class="ldml-parenthetical"&gt;[;]&lt;/span&gt; the sufficiency, probative value, and weight of the evidence&lt;span class="ldml-parenthetical"&gt;[;]&lt;/span&gt; and the inferences and conclusions to be drawn from it are within &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s discretion."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;a href="#note-fr7" class="ldml-noteanchor" id="note-ref-fr7"&gt;7&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-types="background" data-specifier="2" data-ordinal_end="2" data-confidences="medium" data-parsed="true" data-content-heading-label="2. Procedural Due Process" data-format="number" data-id="heading_27791" data-value="2. Procedural Due Process" data-ordinal_start="2" id="heading_27791"&gt;&lt;span data-paragraph-id="27791" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="27791" data-sentence-id="27791" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="27791" data-sentence-id="27794" class="ldml-sentence"&gt;Procedural Due Process&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="27816" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27816" data-sentence-id="27817" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27817"&gt;&lt;span class="ldml-cite"&gt;¶51 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; court&lt;/span&gt; may terminate parental rights when &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the child was adjudicated dependent and neglected; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the parent has not complied with an appropriate, &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-approved treatment plan ...; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the parent is unfit; and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; the parent's conduct or condition is unlikely to change in a reasonable time."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27816" data-sentence-id="28120" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:petitionersthepeopleofthestateofcolorado,intheinterestofminorchildamandamvtmcaseno20sc1872021co14february16,2021" data-prop-ids="sentence_27817"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Int. of A.M.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2021 CO 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27817"&gt;&lt;span class="ldml-cite"&gt;¶ 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:480p3d682,687"&gt;&lt;span class="ldml-cite"&gt;480 P.3d 682, 687&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27816" data-sentence-id="28209" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"An unfit parent is one whose conduct or condition renders him or her unable to give a child reasonable parental care."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27816" data-sentence-id="28329" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofkd,139p3d695,698colo2006" data-prop-ids="sentence_28209"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;K.D. v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;139 P.3d 695, 700&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2006&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(quoting &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;People&lt;/span&gt; in &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofdlc,70p3d584,588–89coloapp2003" data-prop-ids="sentence_28209"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Int. of D.L.C.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;70 P.3d 584, 588&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27816" data-sentence-id="28449" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"A reasonable time ... must be determined by considering the child's conditions and needs."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27816" data-sentence-id="28541" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofsk,2019coa36" data-prop-ids="sentence_28449"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Int. of S.K.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2019 COA 36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28449"&gt;&lt;span class="ldml-cite"&gt;¶ 75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofskvconcerningckandsrno18ca0118440p3d1240march7,2019"&gt;&lt;span class="ldml-cite"&gt;440 P.3d 1240, 1254&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27816" data-sentence-id="28605" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Implicit in these criteria is the requirement that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; consider and eliminate less drastic alternatives."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27816" data-sentence-id="28724" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;A.M.,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28724"&gt;&lt;span class="ldml-cite"&gt;¶ 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:480p3d682,687" data-prop-ids="sentence_28724"&gt;&lt;span class="ldml-cite"&gt;480 P.3d at 687&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27816" data-sentence-id="28753" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[I]&lt;/span&gt;f a proposed alternative to termination is to be deemed viable, it must not only be adequate, it must be in the child's best interests."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27816" data-sentence-id="28894" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:480p3d682,687" data-prop-ids="sentence_28894"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28894"&gt;&lt;span class="ldml-cite"&gt;¶ 27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:480p3d682,687" data-prop-ids="sentence_28894"&gt;&lt;span class="ldml-cite"&gt;480 P.3d at 688&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="28923" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="28923" data-sentence-id="28924" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28924"&gt;&lt;span class="ldml-cite"&gt;¶52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Generally, &lt;span class="ldml-quotation quote"&gt;"a parent's right to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; in a termination proceeding is a statutory right and not a constitutional one,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_28924"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;C.S.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;83 P.3d at 631&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, but &lt;span class="ldml-quotation quote"&gt;"termination proceedings &lt;span class="ldml-parenthetical"&gt;[do]&lt;/span&gt; cue constitutional due process concerns,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:allvpeople,226p3d1054,1063–64colo2010" data-prop-ids="sentence_28924"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;A.L.L. v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;226 P.3d 1054, 1062&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2010&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28923" data-sentence-id="29198" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"When &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;tate&lt;/span&gt; moves to destroy weakened familial bonds, it must provide the parents with fundamentally fair procedures."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="28923" data-sentence-id="29323" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:santoskyvkramerno80-5889455us745,102sct1388,71led2d599decidedmarch24,1982" data-prop-ids="sentence_29198"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Santosky v. Kramer&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;455 U.S. 745, 753–54&lt;/span&gt;, &lt;span class="ldml-cite"&gt;102 S.Ct. 1388&lt;/span&gt;, &lt;span class="ldml-cite"&gt;71 L.Ed.2d 599&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="29403" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="29403" data-sentence-id="29404" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29404"&gt;&lt;span class="ldml-cite"&gt;¶53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_29404"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;C.S.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;we&lt;/span&gt; embraced the test from &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895470077" data-vids="895470077" class="ldml-reference" data-prop-ids="sentence_29404"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Lassiter v. Department of Social Services&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;452 U.S. 18, 27&lt;/span&gt;, &lt;span class="ldml-cite"&gt;101 S.Ct. 2153&lt;/span&gt;, &lt;span class="ldml-cite"&gt;68 L.Ed.2d 640&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, for when fundamental fairness requires the appointment of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; for an indigent parent in a termination proceeding.&lt;/span&gt; &lt;span data-paragraph-id="29403" data-sentence-id="29661" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_29404"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;C.S.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;83 P.3d at 636–37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29403" data-sentence-id="29686" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895470077" data-vids="895470077" class="ldml-reference" data-prop-ids="sentence_29686"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Lassiter&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; identified a &lt;span class="ldml-quotation quote"&gt;"presumption that there is a right to appointed &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; only where the indigent &lt;span class="ldml-parenthetical"&gt;[parent]&lt;/span&gt;, if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is unsuccessful, may lose his personal freedom."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="29403" data-sentence-id="29876" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895470077" data-vids="895470077" class="ldml-reference" data-prop-ids="sentence_29686"&gt;&lt;span class="ldml-cite"&gt;452 U.S. at 27&lt;/span&gt;, &lt;span class="ldml-cite"&gt;101 S.Ct. 2153&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29403" data-sentence-id="29908" class="ldml-sentence"&gt;So, when there's no risk to &lt;span class="ldml-entity"&gt;a respondent&lt;/span&gt; parent's personal freedom, due process doesn't require the appointment of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; in &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; involving the termination of parental rights unless the presumption of no entitlement to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; is overpowered by the &lt;span class="ldml-quotation quote"&gt;"net weight"&lt;/span&gt; of the three factors from &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892578148" data-vids="892578148" class="ldml-reference" data-prop-ids="sentence_29908"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Mathews v. Eldridge&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;424 U.S. 319, 335&lt;/span&gt;, &lt;span class="ldml-cite"&gt;96 S.Ct. 893&lt;/span&gt;, &lt;span class="ldml-cite"&gt;47 L.Ed.2d 18&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29403" data-sentence-id="30275" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895470077" data-vids="895470077" class="ldml-reference" data-prop-ids="sentence_29908"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Lassiter&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;452 U.S. at 27, 31–32&lt;/span&gt;, &lt;span class="ldml-cite"&gt;101 S.Ct. 2153&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29403" data-sentence-id="30324" class="ldml-sentence"&gt;Those factors, which tell &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; how much process is due, are &lt;span class="ldml-quotation quote"&gt;"the private &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="1039" data-vol="488" data-rep="P.3d" data-id="pagenumber_30399"&gt;&lt;/span&gt; interests at stake, the government's interest, and the risk that the procedures used will lead to erroneous decisions."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="29403" data-sentence-id="30520" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895470077" data-vids="895470077" class="ldml-reference" data-prop-ids="sentence_30324"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 27&lt;/span&gt;, &lt;span class="ldml-cite"&gt;101 S.Ct. 2153&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="30546" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="30546" data-sentence-id="30546" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30546"&gt;&lt;span class="ldml-cite"&gt;¶54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; have interpreted that standard to &lt;span class="ldml-quotation quote"&gt;"require&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; the appointment of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; only where the parent's interests are at &lt;span class="ldml-parenthetical"&gt;[their]&lt;/span&gt; strongest, where &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s interests are at their weakest, &lt;i class="ldml-italics"&gt;and the risks of error are at their peak."&lt;/i&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="30546" data-sentence-id="30779" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_30546"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;C.S.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;83 P.3d at 637&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="30817" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="30817" data-sentence-id="30817" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30817"&gt;&lt;span class="ldml-cite"&gt;¶55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Thus, &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s due process claim fails if the risk of an erroneous result at his termination hearing was low.&lt;/span&gt; &lt;span data-paragraph-id="30817" data-sentence-id="30931" class="ldml-sentence"&gt;If so, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; need not delve into his &lt;span class="ldml-quotation quote"&gt;"commanding"&lt;/span&gt; interest in his parental status, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895470077" data-vids="895470077" class="ldml-reference" data-prop-ids="sentence_30931"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Lassiter&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;452 U.S. at 27&lt;/span&gt;, &lt;span class="ldml-cite"&gt;101 S.Ct. 2153&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, or &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s interests.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="31083" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="31083" data-sentence-id="31083" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31083"&gt;&lt;span class="ldml-cite"&gt;¶56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The Supreme Court&lt;/span&gt; has articulated factors that affect the risk of erroneous termination: whether &lt;span class="ldml-quotation quote"&gt;"the weight of the evidence ... was sufficiently great that the presence of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; ... could not have made a determinative difference,"&lt;/span&gt; cooperation with previous &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, the availability of other procedural safeguards, &lt;span class="ldml-quotation quote"&gt;"the complexity of the proceeding"&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(such as the presence of &lt;span class="ldml-quotation quote"&gt;"expert witness&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; testi&lt;span class="ldml-parenthetical"&gt;[mony]&lt;/span&gt;"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"specially troublesome points of law"&lt;/span&gt;)&lt;/span&gt;, and &lt;span class="ldml-quotation quote"&gt;"the incapacity of the uncounseled parent."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="31083" data-sentence-id="31589" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895470077" data-vids="895470077" class="ldml-reference" data-prop-ids="sentence_31083"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 28, 31–33&lt;/span&gt;, &lt;span class="ldml-cite"&gt;101 S.Ct. 2153&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="31622" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="31622" data-sentence-id="31623" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31623"&gt;&lt;span class="ldml-cite"&gt;¶57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In the ordinary course, forcing an indigent parent to participate pro se in a termination hearing presents a high risk of error that threatens the proceeding's fundamental fairness.&lt;/span&gt; &lt;span data-paragraph-id="31622" data-sentence-id="31809" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893556098" data-vids="893556098" class="ldml-reference" data-prop-ids="embeddedsentence_31876,sentence_31623"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Hughes v. Div. of Fam. Servs.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;836 A.2d 498, 509&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Del.&lt;/span&gt; &lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;his third factor will routinely require the appointment of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; at &lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;tate expense for indigent parents in every dependency and neglect proceeding to ensure that an erroneous result does not occur."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;cf.&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895709746" data-vids="895709746" class="ldml-reference" data-prop-ids="sentence_31623"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;A.R. v. D.R.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2020 CO 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31623"&gt;&lt;span class="ldml-cite"&gt;¶ 66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895709746" data-vids="895709746" class="ldml-reference" data-prop-ids="embeddedsentence_32145"&gt;&lt;span class="ldml-cite"&gt;456 P.3d 1266, 1281–82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"a &lt;span class="ldml-entity"&gt;court&lt;/span&gt; may presume prejudice ... when &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; was not made available"&lt;/span&gt; in a dependency and neglect proceeding&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31622" data-sentence-id="32271" class="ldml-sentence"&gt;Although parents may be uniquely well-informed on their relationships with their children,&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_32361" class="ldml-blockquote"&gt;&lt;span data-sentence-id="32361" class="ldml-sentence"&gt;the ultimate issues with which a termination hearing deals are not always simple ....&lt;/span&gt; &lt;span data-sentence-id="32447" class="ldml-sentence"&gt;Expert medical and psychiatric testimony, which few parents are equipped to understand and fewer still to confute, is sometimes presented.&lt;/span&gt; &lt;span data-sentence-id="32586" class="ldml-sentence"&gt;The parents are likely to be &lt;span class="ldml-entity"&gt;people&lt;/span&gt; with little education, who have had uncommon difficulty in dealing with life, and who are, at the hearing, thrust into a distressing and disorienting situation.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="32782" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="32782" data-sentence-id="32783" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895470077" data-vids="895470077" class="ldml-reference"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Lassiter&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;452 U.S. at 30&lt;/span&gt;, &lt;span class="ldml-cite"&gt;101 S.Ct. 2153&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="32824" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="32824" data-sentence-id="32824" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32824"&gt;&lt;span class="ldml-cite"&gt;¶58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Yet the particular facts may combine to minimize the risk of an erroneous termination.&lt;/span&gt; &lt;span data-paragraph-id="32824" data-sentence-id="32915" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_32915"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;C.S.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;,&lt;/i&gt; for example, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had refused to give &lt;span class="ldml-entity"&gt;a mother&lt;/span&gt; time to find a lawyer after it allowed her to discharge her second &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-appointed attorney.&lt;/span&gt; &lt;span data-paragraph-id="32824" data-sentence-id="33076" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_32915"&gt;&lt;span class="ldml-cite"&gt;83 P.3d at 633&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32824" data-sentence-id="33092" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; found that forcing her to proceed pro se hadn't violated her due process rights in part because, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[g]&lt;/span&gt;iven the weight of evidence and the history of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, there was little that a third &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-appointed attorney could have done in this hearing to turn the tide in &lt;span class="ldml-parenthetical"&gt;[her]&lt;/span&gt; favor."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32824" data-sentence-id="33374" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_33092"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 637&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32824" data-sentence-id="33386" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; also emphasized &lt;span class="ldml-quotation quote"&gt;"the simplicity of &lt;span class="ldml-parenthetical"&gt;[that]&lt;/span&gt; hearing,"&lt;/span&gt; her &lt;span class="ldml-quotation quote"&gt;"failure to cooperate"&lt;/span&gt; with her previous attorney, and the fact that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had &lt;span class="ldml-quotation quote"&gt;"beg&lt;span class="ldml-parenthetical"&gt;[u]&lt;/span&gt;n the hearing with &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;"&lt;/span&gt; but &lt;span class="ldml-quotation quote"&gt;"had no witnesses subpoenaed."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32824" data-sentence-id="33592" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_33386"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33595" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="33595" data-sentence-id="33595" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33595"&gt;&lt;span class="ldml-cite"&gt;¶59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_33595"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;C.S.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;'s extreme facts demonstrate that a third &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-appointed attorney couldn't have turned the tide in &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s favor.&lt;/span&gt; &lt;span data-paragraph-id="33595" data-sentence-id="33737" class="ldml-sentence"&gt;While represented, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; admitted that B.H. was dependent and neglected.&lt;/span&gt; &lt;span data-paragraph-id="33595" data-sentence-id="33811" class="ldml-sentence"&gt;The Department presented overwhelming evidence that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; hadn't succeeded with &lt;i class="ldml-italics"&gt;any&lt;/i&gt; element of his treatment plan, that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; wasn't fit, and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; wouldn't become fit in a reasonable amount of time.&lt;/span&gt; &lt;span data-paragraph-id="33595" data-sentence-id="34011" class="ldml-sentence"&gt;Moreover, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; hadn't seen B.H for the nine months before the termination hearing.&lt;/span&gt; &lt;span data-paragraph-id="33595" data-sentence-id="34096" class="ldml-sentence"&gt;And, as in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_34096"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;C.S.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;father&lt;/span&gt; hadn't cooperated with his previous two lawyers.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34169" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34169" data-sentence-id="34169" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34169"&gt;&lt;span class="ldml-cite"&gt;¶60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Indeed, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;these facts&lt;/span&gt; approach&lt;/span&gt; the hypothetical &lt;span class="ldml-entity"&gt;we&lt;/span&gt; imagined last term in which &lt;span class="ldml-quotation quote"&gt;"it is undisputed that ... the parent had made no effort to comply with his or her treatment plan and had remained homeless, unemployed, and addicted to drugs, with no prospect for any change in his or her condition in the foreseeable future."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="34169" data-sentence-id="34494" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895709746" data-vids="895709746" class="ldml-reference" data-prop-ids="sentence_34169"&gt;&lt;span class="ldml-refname"&gt;A.R.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34169"&gt;&lt;span class="ldml-cite"&gt;¶ 58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895709746" data-vids="895709746" class="ldml-reference" data-prop-ids="embeddedsentence_34524"&gt;&lt;span class="ldml-cite"&gt;456 P.3d at 1280&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;discussing ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34169" data-sentence-id="34571" class="ldml-sentence"&gt;In such &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;"the application of the law to the undisputed facts would likely &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="1040" data-vol="488" data-rep="P.3d" data-id="pagenumber_34652"&gt;&lt;/span&gt; require termination of the parent's parental rights, &lt;span class="ldml-parenthetical"&gt;[regardless of]&lt;/span&gt; &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s conduct."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="34169" data-sentence-id="34742" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895709746" data-vids="895709746" class="ldml-reference" data-prop-ids="sentence_34571"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34745" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34745" data-sentence-id="34745" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34745"&gt;&lt;span class="ldml-cite"&gt;¶61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;&lt;/span&gt; doesn't challenge the sufficiency of &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s evidence, nor does &lt;span class="ldml-entity"&gt;he&lt;/span&gt; suggest that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could have rebutted any of it had &lt;span class="ldml-entity"&gt;he&lt;/span&gt; been represented.&lt;/span&gt; &lt;span data-paragraph-id="34745" data-sentence-id="34898" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; says that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would've offered evidence that placement with his &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; was a viable and less drastic alternative to termination.&lt;/span&gt; &lt;span data-paragraph-id="34745" data-sentence-id="35038" class="ldml-sentence"&gt;By his telling, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would have shown that the Department allowed her to visit B.H., which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; says reveals that the Department had exaggerated its concerns about her.&lt;/span&gt; &lt;span data-paragraph-id="34745" data-sentence-id="35203" class="ldml-sentence"&gt;Similarly, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; indicates that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would have examined his &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; about the therapy that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; completed at the request of the Department.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="35340" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="35340" data-sentence-id="35341" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35341"&gt;&lt;span class="ldml-cite"&gt;¶62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; But that evidence wouldn't have altered &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s less-drastic-alternatives analysis.&lt;/span&gt; &lt;span data-paragraph-id="35340" data-sentence-id="35442" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; ruled out anything short of termination because B.H. needed stability—especially in light of his developmental disability—and because &lt;span class="ldml-entity"&gt;father&lt;/span&gt; was a threat to B.H.'s safety and the safety of potential caregivers.&lt;/span&gt; &lt;span data-paragraph-id="35340" data-sentence-id="35663" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Permanent placement is not a viable less drastic alternative if the child needs a stable, permanent home that can only be assured by adoption."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35340" data-sentence-id="35808" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofzp,167p3d211,214coloapp2007" data-prop-ids="sentence_35663"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People in Int. of Z.P&lt;/i&gt; .&lt;/span&gt;, &lt;span class="ldml-cite"&gt;167 P.3d 211, 214&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2007&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="35869" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="35869" data-sentence-id="35870" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35870"&gt;&lt;span class="ldml-cite"&gt;¶63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; And, even if &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; had thought that a relative placement might be in B.H.'s best interests, &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s new evidence wouldn't have addressed &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s concerns about his &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35869" data-sentence-id="36055" class="ldml-sentence"&gt;Those concerns were her persistent conspiratorial belief that the Department and B.H.'s foster family were trafficking B.H., her downplaying of B.H.'s developmental delays, and her refusal to follow a no-contact order between her and &lt;span class="ldml-entity"&gt;father&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35869" data-sentence-id="36297" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Placement with a grandparent is not a viable alternative to termination if the grandparent lacks appreciation of the parent's problems or of the child's conditions or needs."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35869" data-sentence-id="36473" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofdb-jno03ca089389p3d530march11,2004" data-prop-ids="sentence_36297"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Int. of D.B-J.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;89 P.3d 530, 531&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35869" data-sentence-id="36535" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; note that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; told &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; not to place B.H. with his &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35869" data-sentence-id="36614" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofzp,167p3d211,214coloapp2007" data-prop-ids="embeddedsentence_36642,sentence_36535"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Z.P.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;167 P.3d at 215&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;ratifying &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s rejection of a potential less drastic alternative, in part, because the parent had opposed the placement&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="36776" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="36776" data-sentence-id="36776" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36776"&gt;&lt;span class="ldml-cite"&gt;¶64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Given the low risk of a wrong result, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; has not demonstrated a due process violation because the absence of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; did not render the proceeding fundamentally unfair.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-format="number" data-specifier="3" data-ordinal_end="3" data-parsed="true" data-content-heading-label="3. The Statutory Right to Counsel" data-id="heading_36952" data-value="3. The Statutory Right to Counsel" data-ordinal_start="3" id="heading_36952"&gt;&lt;span data-paragraph-id="36952" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="36952" data-sentence-id="36952" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-paragraph-id="36952" data-sentence-id="36955" class="ldml-sentence"&gt;The Statutory Right to &lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="36985" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="36985" data-sentence-id="36986" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36986"&gt;&lt;span class="ldml-cite"&gt;¶65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The constitutional rule that termination hearings must be fundamentally fair often requires &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; to appoint &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; for an indigent parent, but &lt;span class="ldml-quotation quote"&gt;"a parent's right to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; in a termination proceeding is &lt;span class="ldml-parenthetical"&gt;[primarily]&lt;/span&gt; a statutory right."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="36985" data-sentence-id="37231" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_36986"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;C.S.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;83 P.3d at 631&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895470077" data-vids="895470077" class="ldml-reference" data-prop-ids="embeddedsentence_37306,sentence_36986"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Lassiter&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;452 U.S. at 33&lt;/span&gt;, &lt;span class="ldml-cite"&gt;101 S.Ct. 2153&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"A wise public policy ... may require that higher standards be adopted than those minimally tolerable under &lt;span class="ldml-entity"&gt;the Constitution&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="36985" data-sentence-id="37433" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="37434" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="37434" data-sentence-id="37435" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37435"&gt;&lt;span class="ldml-cite"&gt;¶66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"As an indigent parent, &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;father&lt;/span&gt;]&lt;/span&gt; had a statutory right to &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-appointed &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; at every stage of the dependency and neglect proceeding."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37434" data-sentence-id="37579" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestoflb,254p3d1203,1208coloapp2011" data-prop-ids="sentence_37435"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Int. of L.B.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;254 P.3d 1203, 1206&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_37682,sentence_37435"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-202&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;providing a &lt;span class="ldml-quotation quote"&gt;"right to seek the appointment of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; through the office of &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt; parents' &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; ... if &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt; is unable to financially secure &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; on his or her own"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37435"&gt;&lt;span class="ldml-cite"&gt;§ 19-1-105, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37435"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-602&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="37910" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="37910" data-sentence-id="37911" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37911"&gt;&lt;span class="ldml-cite"&gt;¶67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; But that right is waivable, and &lt;span class="ldml-quotation quote"&gt;"waiver may take the form of an express statement ..., or under certain circumstances, a waiver can be implied."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37910" data-sentence-id="38060" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889584781" data-vids="889584781" class="ldml-reference" data-prop-ids="sentence_37911"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Arguello&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;772 P.2d 87, 93&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37910" data-sentence-id="38110" class="ldml-sentence"&gt;Implied waiver requires a person to &lt;span class="ldml-quotation quote"&gt;"engage&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; in conduct which manifests an intent to relinquish the right"&lt;/span&gt; or to &lt;span class="ldml-quotation quote"&gt;"act&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; inconsistently with its assertion."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37910" data-sentence-id="38269" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888973089" data-vids="888973089" class="ldml-reference" data-prop-ids="sentence_38110"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Dep't of Health v. Donahue&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;690 P.2d 243, 247&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="38328" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="38328" data-sentence-id="38329" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38329"&gt;&lt;span class="ldml-cite"&gt;¶68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Express or implied, the waiver of a &lt;i class="ldml-italics"&gt;constitutional&lt;/i&gt; right to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; must be &lt;span class="ldml-quotation quote"&gt;"voluntary"&lt;/span&gt; as well as &lt;span class="ldml-quotation quote"&gt;"knowing and intelligent."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="38328" data-sentence-id="38459" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889584781" data-vids="889584781" class="ldml-reference" data-prop-ids="sentence_38329"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Arguello&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;772 P.2d at 94–95&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38328" data-sentence-id="38488" class="ldml-sentence"&gt;Voluntary means &lt;span class="ldml-quotation quote"&gt;"the product of a free and deliberate choice rather than intimidation, coercion, or deception,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885261681" data-vids="885261681" class="ldml-reference" data-prop-ids="sentence_38488"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Berghuis v. Thompkins&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;560 U.S. 370, 382&lt;/span&gt;, &lt;span class="ldml-cite"&gt;130 S.Ct. 2250&lt;/span&gt;, &lt;span class="ldml-cite"&gt;176 L.Ed.2d 1098&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2010&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890072664" data-vids="890072664" class="ldml-reference" data-prop-ids="sentence_38488"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Moran v. Burbine&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;475 U.S. 412, 421&lt;/span&gt;, &lt;span class="ldml-cite"&gt;106 S.Ct. 1135&lt;/span&gt;, &lt;span class="ldml-cite"&gt;89 L.Ed.2d 410&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;, given &lt;span class="ldml-quotation quote"&gt;"the totality of &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="1041" data-vol="488" data-rep="P.3d" data-id="pagenumber_38792"&gt;&lt;/span&gt; the circumstances,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887615894" data-vids="887615894" class="ldml-reference" data-prop-ids="sentence_38488"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Davis&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2015 CO 36M&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38488"&gt;&lt;span class="ldml-cite"&gt;¶ 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887615894" data-vids="887615894" class="ldml-reference" data-prop-ids="sentence_38488"&gt;&lt;span class="ldml-cite"&gt;352 P.3d 950, 955&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890093409" data-vids="890093409" class="ldml-reference" data-prop-ids="sentence_38488"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Raffaelli&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;647 P.2d 230, 235&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38328" data-sentence-id="38931" class="ldml-sentence"&gt;And &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt; waiver cannot be knowing and intelligent unless the record clearly shows that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; understands ... &lt;span class="ldml-quotation quote"&gt;‘all ... facts essential to a broad understanding of the whole matter,’&lt;/span&gt; "&lt;/span&gt; such as &lt;span class="ldml-quotation quote"&gt;"the nature of the charges"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"possible defenses to the charges and circumstances in mitigation thereof."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="38328" data-sentence-id="39238" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889584781" data-vids="889584781" class="ldml-reference" data-prop-ids="sentence_38931"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Arguello&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;772 P.2d at 94&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885884229" data-vids="885884229" class="ldml-reference" data-prop-ids="sentence_38931"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Von Moltke v. Gillies&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;332 U.S. 708, 724&lt;/span&gt;, &lt;span class="ldml-cite"&gt;68 S.Ct. 316&lt;/span&gt;, &lt;span class="ldml-cite"&gt;92 L.Ed. 309&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1948&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="39350" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="39350" data-sentence-id="39351" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39351"&gt;&lt;span class="ldml-cite"&gt;¶69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In contrast, the &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;aiver of &lt;i class="ldml-italics"&gt;statutory&lt;/i&gt; rights"&lt;/span&gt;—like an indigent parent's right to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; in a termination proceeding—&lt;span class="ldml-quotation quote"&gt;"must be voluntary, but need not be knowing and intelligent."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="39350" data-sentence-id="39536" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:finneyvpeople,2014co38" data-prop-ids="sentence_39351"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Finney v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2014 CO 38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39351"&gt;&lt;span class="ldml-cite"&gt;¶ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893285209" data-vids="893285209" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;325 P.3d 1044, 1050&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;accord&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895603334" data-vids="895603334" class="ldml-reference" data-prop-ids="embeddedsentence_39670"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Newton&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;764 P.2d 1182, 1187&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt; waiver of &lt;span class="ldml-parenthetical"&gt;[statutory]&lt;/span&gt; rights ... must be voluntary, but ... need not comport with the high standard of waiver applicable to basic constitutional rights ...."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="39350" data-sentence-id="39835" class="ldml-sentence"&gt;So, the waiver of a statutory right is effective if it is the product of a free choice, regardless of whether the holder has the &lt;span class="ldml-quotation quote"&gt;"information legally relevant to the making of an informed decision"&lt;/span&gt; and is &lt;span class="ldml-quotation quote"&gt;"fully aware of what &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is doing."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="39350" data-sentence-id="40075" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890575810" data-vids="890575810" class="ldml-reference" data-prop-ids="sentence_39835"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Walker&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2014 CO 6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39835"&gt;&lt;span class="ldml-cite"&gt;¶ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890575810" data-vids="890575810" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;318 P.3d 479, 484&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895315407" data-vids="895315407" class="ldml-reference"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Mozee&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;723 P.2d 117, 121 n.4&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="40196" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="40196" data-sentence-id="40197" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40197"&gt;&lt;span class="ldml-cite"&gt;¶70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Thus, a person impliedly waives a statutory right through freely chosen conduct that clearly manifests an intent to relinquish the right or is inconsistent with its assertion.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="40376" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="40376" data-sentence-id="40376" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40376"&gt;&lt;span class="ldml-cite"&gt;¶71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889584781" data-vids="889584781" class="ldml-reference" data-prop-ids="sentence_40376"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Arguello&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; concluded that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_40427" class="ldml-blockquote"&gt;&lt;span data-sentence-id="40427" class="ldml-sentence"&gt;obstreperous and dilatory conduct ... taken as a whole—his repeated &lt;span class="ldml-entity"&gt;requests for change&lt;/span&gt; of attorneys without good cause, his non-cooperation with his attorneys, his dilatory tactics, and the prolonged verbal abuse &lt;span class="ldml-entity"&gt;he&lt;/span&gt; directed at the judge when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was denied a change of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;—could amount to a &lt;span class="ldml-quotation quote"&gt;"voluntary"&lt;/span&gt; waiver of his right to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="40766" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="40766" data-sentence-id="40767" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889584781" data-vids="889584781" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;772 P.2d at 96&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40766" data-sentence-id="40783" class="ldml-sentence"&gt;Yet &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that there wasn't an implied waiver because the relevant right was constitutional and the record didn't show that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s voluntary waiver by conduct had also been knowing and intelligent.&lt;/span&gt; &lt;span data-paragraph-id="40766" data-sentence-id="40992" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889584781" data-vids="889584781" class="ldml-reference" data-prop-ids="sentence_40783"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="40995" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="40995" data-sentence-id="40995" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40995"&gt;&lt;span class="ldml-cite"&gt;¶72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Here, however, such conduct would suffice because the waiver only needed to be voluntary.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="41088" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="41088" data-sentence-id="41088" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41088"&gt;&lt;span class="ldml-cite"&gt;¶73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; ruled that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had &lt;span class="ldml-quotation quote"&gt;"lost his ability to have &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; due to his own actions."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="41088" data-sentence-id="41192" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; found that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had threatened to kill his first &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-appointed attorney and was arrested the next day with a gun, ammunition, and body armor.&lt;/span&gt; &lt;span data-paragraph-id="41088" data-sentence-id="41348" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also found that this was an attempt &lt;span class="ldml-quotation quote"&gt;"to play the system."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="41088" data-sentence-id="41416" class="ldml-sentence"&gt;Regarding the second attorney, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; found that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had again &lt;span class="ldml-quotation quote"&gt;"create&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[his]&lt;/span&gt; own conflict of interest"&lt;/span&gt; as &lt;span class="ldml-quotation quote"&gt;"an attempt to delay the proceedings."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="41088" data-sentence-id="41570" class="ldml-sentence"&gt;None of these findings are clearly erroneous.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="41615" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="41615" data-sentence-id="41615" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41615"&gt;&lt;span class="ldml-cite"&gt;¶74&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Applying the legal standard for an implied waiver to our facts, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agree with &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s conduct, viewed as a whole, amounted to a voluntary waiver of his right to appointed &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41615" data-sentence-id="41824" class="ldml-sentence"&gt;Threatening to kill one &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-appointed lawyer and then failing to cooperate with the replacement is clearly inconsistent with asserting the right to appointed &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41615" data-sentence-id="41993" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt;'s inference that the purpose was delay is amply supported by the record.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="42084" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="42084" data-sentence-id="42084" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42084"&gt;&lt;span class="ldml-cite"&gt;¶75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Thus, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had neither a constitutional nor a statutory right to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; when &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; declined to appoint a third attorney.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-format="upper_case_letters" data-specifier="C" data-ordinal_end="3" data-parsed="true" data-content-heading-label="C. Reasonable Efforts and Less Drastic Alternatives to Termination" data-id="heading_42224" data-value="C. Reasonable Efforts and Less Drastic Alternatives to Termination" data-ordinal_start="3" id="heading_42224"&gt;&lt;span data-paragraph-id="42224" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="42224" data-sentence-id="42224" class="ldml-sentence"&gt;C.&lt;/span&gt; &lt;span data-paragraph-id="42224" data-sentence-id="42227" class="ldml-sentence"&gt;Reasonable Efforts and Less Drastic Alternatives to Termination&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="42290" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="42290" data-sentence-id="42291" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42291"&gt;&lt;span class="ldml-cite"&gt;¶76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Lastly, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; argues that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; shouldn't have found that the Department made reasonable efforts to reunite his family because the Department allegedly failed to mail out family finding letters and didn't explore a reasonable number of placement options as less drastic alternatives to the termination of his parental rights.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="42634" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="42634" data-sentence-id="42635" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42635"&gt;&lt;span class="ldml-cite"&gt;¶77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; and the GAL counter that the record supports &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s finding that the Department made reasonable efforts to provide services to &lt;span class="ldml-entity"&gt;father&lt;/span&gt;.&lt;/span&gt; &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="1042" data-vol="488" data-rep="P.3d" data-id="pagenumber_42799"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="42799" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="42799" data-sentence-id="42800" class="ldml-sentence"&gt;Further, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; argue that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; was right to find that no less drastic alternative would have served B.H.'s best interests.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="42935" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="42935" data-sentence-id="42935" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42935"&gt;&lt;span class="ldml-cite"&gt;¶78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;&lt;/span&gt; relies on the phrase &lt;span class="ldml-quotation quote"&gt;"reasonable efforts"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42935"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(h)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, but that &lt;span class="ldml-entity"&gt;section&lt;/span&gt; doesn't articulate a standard for the Department's search for placement options.&lt;/span&gt; &lt;span data-paragraph-id="42935" data-sentence-id="43113" class="ldml-sentence"&gt;Rather, it provides that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; evaluating parental fitness should consider whether &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[r]&lt;/span&gt;easonable efforts by child-caring agencies ... have been unable to rehabilitate the parent."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="42935" data-sentence-id="43295" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43295"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-cite"&gt;Section 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(h)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s focus on rehabilitative services is confirmed by the definition of &lt;span class="ldml-quotation quote"&gt;"reasonable efforts,"&lt;/span&gt; which provides in part that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;ervices provided by a county &lt;span class="ldml-parenthetical"&gt;[to prevent unnecessary placement of a child outside of a child's home or to foster the safe reunification of a child with a child's family]&lt;/span&gt; ... in accordance with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43295"&gt;&lt;span class="ldml-cite"&gt;section 19-3-208&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; are deemed to meet the reasonable effort standard."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="42935" data-sentence-id="43707" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43295"&gt;&lt;span class="ldml-cite"&gt;§ 19-1-103&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(89)&lt;/span&gt;&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42935" data-sentence-id="43738" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Among other things, the Department must offer screening, assessments, and individual case plans; information and referrals to available public and private assistance resources; and visitation services."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="42935" data-sentence-id="43942" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofsk,2019coa36" data-prop-ids="sentence_43738"&gt;&lt;span class="ldml-refname"&gt;S.K.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43738"&gt;&lt;span class="ldml-cite"&gt;¶ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofskvconcerningckandsrno18ca0118440p3d1240march7,2019"&gt;&lt;span class="ldml-cite"&gt;440 P.3d at 1247&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="43971" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="43971" data-sentence-id="43971" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43971"&gt;&lt;span class="ldml-cite"&gt;¶79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; So, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43971"&gt;&lt;span class="ldml-cite"&gt;section 19-3-604&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(h)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; doesn't ask &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; to assess whether the Department mailed family finding letters or explored enough placement options; those aren't services aimed at rehabilitating &lt;span class="ldml-entity"&gt;father&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43971" data-sentence-id="44185" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43971"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-208&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43971" data-sentence-id="44219" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s argument does make more sense as a challenge to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s finding that there weren't less drastic alternatives to termination.&lt;/span&gt; &lt;span data-paragraph-id="43971" data-sentence-id="44372" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofdb-jno03ca089389p3d530march11,2004" data-prop-ids="embeddedsentence_44401,sentence_44219"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;D.B-J.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;89 P.3d at 532&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;describing the question of whether the agency &lt;span class="ldml-quotation quote"&gt;"evaluate&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt; a reasonable number of persons suggested to it as possible placements"&lt;/span&gt; as part of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s obligation to &lt;span class="ldml-quotation quote"&gt;"consider remedies less drastic than termination"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43971" data-sentence-id="44626" class="ldml-sentence"&gt;Rather than reject &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s argument outright, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; construe it as such.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-types="standardofreview" data-specifier="1" data-ordinal_end="1" data-confidences="very_high" data-parsed="true" data-content-heading-label="1. Standard of Review" data-format="number" data-id="heading_44696" data-value="1. Standard of Review" data-ordinal_start="1" id="heading_44696"&gt;&lt;span data-paragraph-id="44696" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="44696" data-sentence-id="44696" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="44696" data-sentence-id="44699" class="ldml-sentence"&gt;Standard of Review&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="44717" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="44717" data-sentence-id="44718" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44718"&gt;&lt;span class="ldml-cite"&gt;¶80&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; When a &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; consider&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; the availability of an &lt;span class="ldml-parenthetical"&gt;[allocation of parental responsibilities]&lt;/span&gt;, and still determine&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; that termination of parental rights would be in the child's best interests,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are &lt;span class="ldml-quotation quote"&gt;"bound to affirm &lt;span class="ldml-entity"&gt;the decision of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;&lt;/span&gt;"&lt;/span&gt; if its &lt;span class="ldml-quotation quote"&gt;"findings are supported by the record."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="44717" data-sentence-id="45024" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;A.M.,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45024"&gt;&lt;span class="ldml-cite"&gt;¶ 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:480p3d682,687" data-prop-ids="sentence_45024"&gt;&lt;span class="ldml-cite"&gt;480 P.3d at 691&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-types="analysis" data-specifier="2" data-ordinal_end="2" data-confidences="very_high" data-parsed="true" data-content-heading-label="2. Discussion" data-format="number" data-id="heading_45052" data-value="2. Discussion" data-ordinal_start="2" id="heading_45052"&gt;&lt;span data-paragraph-id="45052" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="45052" data-sentence-id="45052" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="45052" data-sentence-id="45055" class="ldml-sentence"&gt;Discussion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="45065" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="45065" data-sentence-id="45066" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45066"&gt;&lt;span class="ldml-cite"&gt;¶81&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"In determining whether permanent placement with a relative or other person is a viable less drastic alternative to termination, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; may consider ... whether an ongoing relationship &lt;span class="ldml-parenthetical"&gt;[with the parent]&lt;/span&gt; would be ... detrimental to the child."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="45065" data-sentence-id="45316" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofjcr,259p3d1279,1285coloapp2011" data-prop-ids="sentence_45066"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Int. of J.C.R.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;259 P.3d 1279, 1285&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45065" data-sentence-id="45381" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Permanent placement is not a viable less drastic alternative to termination if the children need a stable, permanent home that can only be assured by adoption."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="45065" data-sentence-id="45543" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofjcr,259p3d1279,1285coloapp2011" data-prop-ids="sentence_45381"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="45546" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="45546" data-sentence-id="45546" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45546"&gt;&lt;span class="ldml-cite"&gt;¶82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As already discussed, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; categorically rejected all alternatives short of termination as not in B.H.'s best interests because B.H. needs permanency and because &lt;span class="ldml-entity"&gt;father&lt;/span&gt; is a threat to the safety of B.H. and potential caregivers.&lt;/span&gt; &lt;span data-paragraph-id="45546" data-sentence-id="45793" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also found that the Department had sent family finding letters, apparently crediting a caseworker's testimony that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; thought &lt;span class="ldml-entity"&gt;they&lt;/span&gt;'d been sent notwithstanding the fact that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; didn't have a record of it.&lt;/span&gt; &lt;span data-paragraph-id="45546" data-sentence-id="46009" class="ldml-sentence"&gt;Finally, the record shows that the Department explored &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;, &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;'s parents, &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;'s cousin, and the Indiana foster family.&lt;/span&gt; &lt;span data-paragraph-id="45546" data-sentence-id="46147" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s finding of no less drastic alternatives is supported by the record.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="conclusion" data-specifier="III" data-ordinal_end="3" data-confidences="very_high" data-parsed="true" data-content-heading-label="III. Conclusion" data-format="upper_case_roman_numeral" data-id="heading_46241" data-value="III. Conclusion" data-ordinal_start="3" id="heading_46241"&gt;&lt;span data-paragraph-id="46241" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="46241" data-sentence-id="46241" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="46241" data-sentence-id="46246" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="46256" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="46256" data-sentence-id="46256" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46256"&gt;&lt;span class="ldml-cite"&gt;¶83&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; may have lacked jurisdiction, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; remand &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; for jurisdictional factfinding.&lt;/span&gt; &lt;span data-paragraph-id="46256" data-sentence-id="46408" class="ldml-sentence"&gt;If &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; acquires jurisdiction, it may reinstate the termination judgment based on the existing record.&lt;/span&gt; &lt;span data-paragraph-id="46256" data-sentence-id="46525" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; may, but need not, appoint &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; for &lt;span class="ldml-entity"&gt;father&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="46590" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr1" class="ldml-notemarker" id="note-fr1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="46590" data-sentence-id="46591" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also terminated &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;'s parental rights, and &lt;span class="ldml-entity"&gt;she&lt;/span&gt; has not appealed.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="46668" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr2" class="ldml-notemarker" id="note-fr2"&gt;2&lt;/a&gt; &lt;span data-paragraph-id="46668" data-sentence-id="46669" class="ldml-sentence"&gt;The issues &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agreed to review are:&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_46704" class="ldml-blockquote"&gt;&lt;span data-sentence-id="46704" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-sentence-id="46707" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;the juvenile court&lt;/span&gt; had jurisdiction under the Uniform Child-custody &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46707"&gt;&lt;span class="ldml-cite"&gt;Jurisdiction and Enforcement Act &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"UCCJEA"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to order termination of the parent-child legal relationship.&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_46887" class="ldml-blockquote"&gt;&lt;span data-sentence-id="46887" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-sentence-id="46890" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;the District Court&lt;/span&gt; violated &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s right to due process when it denied him &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; at the termination hearing.&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_47010" class="ldml-blockquote"&gt;&lt;span data-sentence-id="47010" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-sentence-id="47013" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;the District Court&lt;/span&gt; abused its discretion when it found the department made reasonable efforts to reunite the family despite the department failing to mail out family finding letters and explore a reasonable number of placement options as a less drastic alternative to the termination of &lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s parental rights.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="47333" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr3" class="ldml-notemarker" id="note-fr3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="47333" data-sentence-id="47334" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt;' briefs did not explicitly address the modification jurisdiction &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47334"&gt;&lt;span class="ldml-cite"&gt;section 14-13-203&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, but &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; debated whether &lt;span class="ldml-entity"&gt;the facts of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt; are analogous to those of &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofclt,2017coa119" data-prop-ids="sentence_47334"&gt;&lt;span class="ldml-refname"&gt;C.L.T.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47334"&gt;&lt;span class="ldml-cite"&gt;¶¶ 31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, 38, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofcltno16ca1416405p3d510september7,2017" data-prop-ids="sentence_47334"&gt;&lt;span class="ldml-cite"&gt;405 P.3d at 515–17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; that applied &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47334"&gt;&lt;span class="ldml-cite"&gt;section 14-13-203&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s attorney raised &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47334"&gt;&lt;span class="ldml-cite"&gt;section 14-13-203&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at oral argument.&lt;/span&gt; &lt;span data-paragraph-id="47333" data-sentence-id="47663" class="ldml-sentence"&gt;Moreover, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; believe that our discussion of modification jurisdiction does not run afoul of &lt;span class="ldml-entity"&gt;the party&lt;/span&gt;-presentation principle given the scope of the issues that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; have placed before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47333" data-sentence-id="47858" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:unitedstatesvsineneng-smith,590us371,376,140sct1575,1579,206led2d8662020" data-prop-ids="embeddedsentence_47958,sentence_47663"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Sineneng-Smith&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;––– U.S. ––––&lt;/span&gt;, &lt;span class="ldml-cite"&gt;140 S. Ct. 1575, 1579&lt;/span&gt;, &lt;span class="ldml-cite"&gt;206 L.Ed.2d 866&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"The &lt;span class="ldml-entity"&gt;party&lt;/span&gt; presentation principle is supple, not ironclad."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47333" data-sentence-id="48020" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; note that &lt;span class="ldml-entity"&gt;the principle of &lt;span class="ldml-entity"&gt;party&lt;/span&gt;&lt;/span&gt; presentation &lt;span class="ldml-quotation quote"&gt;"does not prevent &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; from properly characterizing an issue that has been improperly characterized by &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="47333" data-sentence-id="48194" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887507642" data-vids="887507642" class="ldml-reference" data-prop-ids="sentence_48020"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Lucero v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2017 CO 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48020"&gt;&lt;span class="ldml-cite"&gt;¶ 26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887507642" data-vids="887507642" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;394 P.3d 1128, 1134&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="48250" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr4" class="ldml-notemarker" id="note-fr4"&gt;4&lt;/a&gt; &lt;span data-paragraph-id="48250" data-sentence-id="48251" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48251"&gt;&lt;span class="ldml-cite"&gt;UCCJEA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides for two other forms of non-emergency jurisdiction &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"more-appropriate-forum"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"last-resort"&lt;/span&gt; jurisdiction)&lt;/span&gt;, but &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48251"&gt;&lt;span class="ldml-cite"&gt;section 14-13-203&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may modify an out-of-state child-custody determination only if it has home-state or significant-connection jurisdiction.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="48547" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr5" class="ldml-notemarker" id="note-fr5"&gt;5&lt;/a&gt; &lt;span data-paragraph-id="48547" data-sentence-id="48548" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; must also &lt;span class="ldml-quotation quote"&gt;"conduct a hearing at which both sides are allowed to present evidence if there is a factual dispute on the residency issue."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="48547" data-sentence-id="48703" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofbrandtvbrandtno11sa2482012co3,268p3d406jan23,2012" data-prop-ids="sentence_48548"&gt;&lt;span class="ldml-refname"&gt;Brandt&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48548"&gt;&lt;span class="ldml-cite"&gt;¶ 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofbrandtvbrandtno11sa2482012co3,268p3d406jan23,2012"&gt;&lt;span class="ldml-cite"&gt;268 P.3d at 413&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="48733" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr6" class="ldml-notemarker" id="note-fr6"&gt;6&lt;/a&gt; &lt;span data-paragraph-id="48733" data-sentence-id="48734" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; should consider whether any &lt;span class="ldml-entity"&gt;court&lt;/span&gt; could &lt;i class="ldml-italics"&gt;presently&lt;/i&gt; invoke home-state jurisdiction over B.H. in Indiana—not whether it had home-state jurisdiction when the Colorado proceeding began—because &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48734"&gt;&lt;span class="ldml-cite"&gt;section 14-13-201&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; turns on whether another state has home-state jurisdiction at the moment that the &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; is seeking to assert significant-connection jurisdiction.&lt;/span&gt; &lt;span data-paragraph-id="48733" data-sentence-id="49120" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48734"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;S.A.G.,&lt;/i&gt; ¶ 41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="48733" data-sentence-id="49139" class="ldml-sentence"&gt;Indeed, it wouldn't make sense for a &lt;span class="ldml-entity"&gt;Colorado court&lt;/span&gt; to ask an &lt;span class="ldml-entity"&gt;Indiana court&lt;/span&gt; to decline to exercise home-state jurisdiction that it no longer has.&lt;/span&gt; &lt;span data-paragraph-id="48733" data-sentence-id="49285" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49139"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/i&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="49292" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr7" class="ldml-notemarker" id="note-fr7"&gt;7&lt;/a&gt; &lt;span data-paragraph-id="49292" data-sentence-id="49293" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892097072" data-vids="892097072" class="ldml-reference" data-prop-ids="sentence_49293"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Bergerud&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; discussed the standard of review for the waiver of the constitutional right to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, but &lt;span class="ldml-entity"&gt;we&lt;/span&gt; don't decide whether a more deferential standard applies to the waiver of statutory rights because giving more deference to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; wouldn't lead to a different result here.&lt;/span&gt; &lt;span data-paragraph-id="49292" data-sentence-id="49582" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;Compare&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892097072" data-vids="892097072" class="ldml-reference" data-prop-ids="sentence_49293"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Bergerud&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;223 P.3d at 693&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;i class="ldml-italics"&gt;with &lt;/i&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;People&lt;/span&gt; in &lt;/i&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intofmg,128p3d332,334coloapp2005" data-prop-ids="embeddedsentence_49685"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Int. of M.G.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;128 P.3d 332, 334&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[W]&lt;/span&gt;e consider whether the record supports &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s factual finding of a voluntary waiver &lt;span class="ldml-parenthetical"&gt;[of a statutory right to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="49292" data-sentence-id="49820" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;